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                     EXHIBIT "A"
   Case 1:15-cv-00053-CCC Document 6 Filed 01/12/15 Page 2 of 54




                                Certification



I, Jon King, as a duly authorized Nationwide Insurance associate entrusted
with oversight of the system of record from which this copy was produced,
based upon information and belief, certify under the penalty of perjury that
this attached copy of policy HOM 0045960401 was made at or near the
time of certification, as part of regularly conducted business activities, and is
a true and accurate copy of the official record kept as part of regular
business activities.


                  ~ti               Date:     December 31, 2014
          Signature


      Jon King
      Print Name


 Sr. Processor, Ima~in~
         Title
                 Case 1:15-cv-00053-CCC Document 6 Filed 01/12/15 Page 3 of 54




            33
         YORE, BRIAN
         YOHE, JILL
         705 BROADWAY
         HANOVER, PA 17331




Your Homeowners Insurance Policy
Courtesy of:
         BARRICK &ASSOCIATES INC
         HANOVER PA
         800-282-1446
         AGENCY - PA - 26335

         Policy # HOM 0045960401-0




 HOM 0045960401-0    14040            DIRECT BILL                           74   17042
                         Case 1:15-cv-00053-CCC Document 6 Filed 01/12/15 Page 4 of 54


               Allied                                                                                                26335
              Insurance
    a Nationwide Insurance° company

                  AGENCY - PA - 26336
                  BARRICK &ASSOCIATES INC                                    AMCO INSURANCE COMPANY
                  HANOVER PA                                                 1100 LOCUST ST
                                                                             DES MOINES IA
                                                                             50391-1100

                                                                                   HOMEOWNERS POLICY NUMBER
                  YORE, BRIAN
                                                                                     HOM 0045960401-0
                  YORE, J I L L
                  705 BROADWAY                                                     ACCOUNT NUMBER
                  HANOVER, PA 17331-2014                                             800754143



     Thank you for selecting Allied Insurance for your insurance needs!
     Allied is committed to providing you high quality insurance protection along with Premier Service —our pledge to
     provide superior customer service. You can also count on Allied for a full range of personal insurance needs:
     automobile, homeowners, recreational vehicles, rental properties, personal umbrella liability and boat insurance.
     For more than 70 years, Allied has provided reliable affordable personal insurance protection. We have a long-
     standing history of excellent value and service — a tradition you can count on. Allied is rated "A+" (Superior) by A.M.
     Best Company, an independent insurance rating organization.
     For questions, changes or to report a claim ....Call 7-800-282-7446 from anywhere in the U.S.

     Our associates are available to assist you 24 hours a day, seven days a week.
     Information about your policy ... .
     ■    PRIVACY STATEMENT PROCEDURES. We value you as a customer and respect your right to privacy.
          Please see the enclosed Privacy Statement and Procedures Notice directly following this page for
          additional information.
     ■    Special Notices. These notices, when included, point out specific items concerning your policy.
     ■    Coverage and Endorsement Forms. Provides policy and coverage information.
     ■    Billing. Any premiums that are unpaid will be billed separately. Pay from that bill rather than this policy.
    YOUR DISCOUNTS ... .
   Your premium shown on the declarations page reflects savings because you qualified for these discounts or spe-
   cial rating. For information on qualifying for additional discounts, contact your agent.
         DISCOUNTS APPLIED                                          DISCOUNTS AVAILABLE
         Multi-Policy -Qualifying home and auto policy with us      Multi-folicy - Qualifying home and auto policy with us
         Claims Free Discount                                       Protective Device -burglar, fire or smoke alarm system
                                                                    Home Renovation Disc.
                                                                    Gated Comm. Discount
                                                                    Home Purchase Discount
                                                                    Claims Free Discount




     In addition to the attached information, you can also review your policy and payment history online at
     mvAlliedPolicv.com. This personalized Web site is tailored to your individual needs, providing easy access to your
     policy every day, 24 hours a day.



     JL0201S (06-07)
DIRECT BILL      1928    14040                                                                           800754143   74        17,043
             Case 1:15-cv-00053-CCC Document 6 Filed 01/12/15 Page 5 of 54




HOMEOWNERS RATINGIGENERAL INFORMATION. Please advise immediately if this information is incorrect.

APPLICANT:
 Name: BRIAN YOHE Marital Status: Married
 Date of Birth: 11/23/1969 Occupation: CONSTRUCTION/CONTRACTOR
CO-APPLICANT:
 Name: JILL YORE Marital Status: Married
 Date of Birth: 10/03/1969 Occupation: MANUFACTURING

OTHER TYPES OF INSURANCE WITH COMPANY:
 Preferred Auto

POLICY CHARACTERISTICS:
 Responding Fire Department: PENN TS FS 49-2 (AA) Miles from Responding Fire Dept: 001
 Year Built: 1930 Type of Construction: FRAME tVo. Residing in Dwelling: 02
 Type of Roof: Composition Shi Roof UL Class: None Roof Thickness: Standard
 Year Renovated: Roof: 2007 Wiring: 1980 Plumbing: 1980 Heating: 1980 Cooling: 1980
 Protective Device: Smoke Detector: Detector

 Auxiliary Heating:   None


 Pool/Hot tub/Spa on premises? No

 Trampoline on premises? No

 Purchase Date: 2000
 Prior Insurance Carrier: STATE FARM
 Expiration Date of Prior Policy: 11/15/2014 Years with Prior Carrier: 00

 Claim free for the last 3 years? Yes

 Business on premises? No




                                                                                         JLQ201S {06-07)
                                                                                                           17,044
              Case 1:15-cv-00053-CCC Document 6 Filed 01/12/15 Page 6 of 54




 Allied Insurance Privacy Statement
 Thank you for choosing Allied Insurance
 Our privacy statement explains how we collect, use, share, and protect your personal information. So
 just how do we protect your privacy? In a nutshell, we respect your right to privacy and promise to treat
 your personal information responsibly. IYs as simple as that. Here's how.

 Confidentiality and security
 We follow all data security laws. We protect your information by using physical, technical, and
 procedural safeguards. We limit access to your information to those who need it to do theirjobs. Our
 business partners are legally bound to use your information for permissible purposes.

 Collecting and using your personal information
 We collect information about you when you ask about or buy one of our products or services. The
 information comes from your application, business transactions with us, consumer reports, and publicly
 available sources. Please know that we only use that information to sell, service, or market products to
 you.

 We may collect the following types of information:
 • Name, address, and Social Security number
 • Assets and income
 • Property address and value
 • Account and policy information
 • Credit reports and other consumer report inforrnation
 • Family member and beneficiary information
 • Public information

 Sharing your information for business purposes
 We share your information with other Nationwide companies and business partners. When you buy a
 product, we may share your personal information for everyday business purposes. Some examples
 include mailing your statements or processing transactions that you request. You cannot opt out of
 these. We also share your information with your agent or producer. They use your personal information
 to manage your policy or account. We may also share your personal information as federal and state
 law requires.

 Sharing your information for marketing purposes
 We don't sell your information to anyone —period. Because you are a customer of both us and an
 independent broker or agent, we have chosen not to share your personal information with anyone,
 except to service your product. So there's no reason for you to opt out. If we change our policy, we'll tell
 you and give you the opportunity to opt out before we share your information.

 Using your medical information
 We sometimes collect medical information. We may use this medical information for a product or service
 you're interested in, to pay a claim, or to provide a service. We may share this medical information for
 these business purposes if required or permitted by law. But we won't use it for marketing purposes
 unless ou iv~ermission


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HOM 00459604010     02/09!14                INSURED COPY                                                 74 17045
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 Accessing your information
 You can always ask us for a copy of your personal information. Please send your privacy inquiry to the
 address below and have your signature notarized. This is for your protection so we may prove your
 identity. We don't charge a fee for giving you a copy of your information now, but we may charge a small
 fee in the future.

 You can call your agent to change your personal information. But we can't update information that other
 companies, like credit agencies, provide to us. So you'll need to contact these other companies to
 change and correct your information.

 Send your privacy inquiries to the address below. Please include your name, address, and policy
 number. If you know it, include your agent's name and number.

                                           Nationwide Insurance
                                           Attn: Customer Relations -Privacy
                                           One Nationwide Plaza, 3-04-101
                                           Columbus, OH 43215


 A parting word ...
 These are our privacy practices. They apply to all current, joint, and former clients of Allied Insurance.
 They also apply to the affiliates and subsidiaries that offer auto, home, property, life insurance, banking
 services and investments. This includes the following companies:
 Allied Property and Casualty Insurance Company
 AMCO Insurance Company
 Depositors Insurance Company
 Nationwide Mutual Insurance Company
 Nationwide Agribusiness Insurance Company
 Colonial County Mutual Insurance Company
 Nationwide Insurance Company of America
 Nationwide Affinity Insurance Company of America
 Nationwide Sales Solution, Inc.
 Crestbrook Insurance Company
 Nationwide Insurance Company of Florida




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 2009 Nationwide Mutual Insurance Company.


 IN0000 (04-09)
 Effective Date April 20, 2009
HOM 00459604010         02/09/14                    INSURED COPY                                      74   17046
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                                                                                                     GAD1000 (10-07)


      *******                       IMPORTANT INSURANCE INFORMATION                                   *~**~

                           IMPORTANT NOTICE FAIR CREDIT REPORTING ACT
    Thank you for giving us the opportunity to provide your insurance protection. We appreciate the confidence you
    place in us to handle your insurance needs.
    In order to provide each of our policyholders with the most accurate rate, Allied           ,like many insurance
    companies, uses information obtained from various consumer reporting agencies as part of our rating process.
    The information used may include motor vehicle reports, accident/loss history, prior insurance history, consumer
    and credit history, or other consumer reports. Information in your consumer and credit history has had an adverse
    affect on your premium.
    How Credit Reports Are Used
    Some of the information from your credit history report, such as stability of credit, use of credit, payment history
    and adverse credit-related public records, is used to develop an insurance score, which is one of several factors
    that determine your premium. Insurance scoring has proven to be a strong indicator of future losses. It is
    important to know that an insurance score is different than your credit score — an insurance score is not
    necessarily reflective of your credit worthiness. Some customers who have an excellent credit score are not
    always in a better insurance score category, and vice versa, because the scores are calculated differently.
    How Did The Credit Report Impact Me?
    Based on information received from the consumer reporting agency below, your insurance score has had an
    adverse affect on your policy's premium. If you are a new customer, this means that your premium is higher than
    if we had not used credit as a rating factor. If you are receiving this notice as part of your renewal, this means that
    your premium is higher than your previous term due to your insurance score. Receiving this notification does not
    necessarily indicate that you have a poor credit report. Please note that the consumer reporting agency did not
    make the decision to take this adverse action and can not provide the specific reasons why the adverse action
    was taken. The company taking this action is shown on the Declarations.
   The following is (are) the primary characteristics) of your credit history that influenced the underwriting or pricing
   of your insurance policy and resulted in adjustment in your insurance premium.

       Length of Time Accounts Have Been Established
       Total Amount of Balances on Accounts or Status Unknown
       Num of Curr/Past Accts 30 or More Days Past Due
       Num of Derog Public Records/Collection Agency Filings


   The following are not used when determining your insurance score:
      Credit inquiries not initiated by the consumer or inquiries requested by the consumer for his or her own credit
      information.
   • Inquiries relating to insurance coverage, if so identified on a consumer's credit report.
   • Collection accounts with a medical industry code, if so identified on the consumer's credit report.
   • Multiple lender inquiries, if coded by the consumer reporting agency on the consumer's credit report as being
      from the home mortgage or automobile lending industry and made within 30 days of one another, unless only
      one inquiry is considered.




   GAD1000 (10-07)                                                                                           Page 1 of 2
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    GAD1000 (10-07)


    Your Rights Under The Fair Credit Reporting Act
    You have the right to dispute the accuracy or completeness of any information contained in the consumer report
    with the consumer reporting agency. We do not have a copy of the actual report; we only receive the insurance
    score. If you would like to review the consumer report used to develop your insurance score and policy premium,
    you may request a free copy of the report from the consumer reporting agency within 60 days of the receipt of this
    letter. If you dispute the information and the consumer reporting agency makes changes to the content of your
    consumer report, please contact us so we can determine the affect on your premium or policy.
    To request a copy of your credit report, please contact:

      LexisNexis Consumer Center
      P.O. Box 106108
      Atlanta, GA 30348
      Telephone No.: 1-800-456-6004
      www.consumerdisclosure.com
      Report Reference Number 14038141203472
    Who Can 1 Contact?
    Should you have questions relating to how the company uses consumer reports in the underwriting or pricing of
    your policy, please contact our Service Center at 1-800-282-1446 .Hearing or Voice Impaired: 1-800-622-2421
    (TTY only). www.alliedinsurance.com
    Thank you for choosing Allied               We value your business.




   Page 2 of 2                                                                                   GAD1000 (10-07)
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                                                                                                    IN 2402 (10-05)

    * ** ** * *                 IMPORTANT INSURANCE INFORMATION


             PENNSYLVANIA INSURANCE CONSULTATION SERVICES EXEMPTION ACT—NOTICE

 An Insurance Company, its agents, employees or service contractors acting on its behalf, may provide services to
 reduce the likelihood of injury, death or loss. These services may include any of the following or related services
 incident to the application for, issuance, renewal or continuation of, a policy of insurance:

     1. surveys;

     2. consultation or advice; or

     3. inspections.

 The "Insurance Consultation Services Exemption Act" of Pennsylvania provides that the Insurance Company, its
 agents, employees or service contractors acting on its behalf, is not liable for damages from injury, death or loss
 occurring as a result of an act or omission by any person in the furnishing of or failure to furnish these services.

  The Act does not apply:

      1. if the injury, death or loss occurred during the actual performance of the services and was caused by the
         negligence of the Insurance Company, its agents, employees or service contractors;

      2. to consultation services required to be performed under a written service contract not related to the
         insurance policy; or

      3. if any acts or omissions of the Insurance Company, its agents, employees or service contractors are
         judicially determined to constitute a crime, actual malice or grass negligence.




  IN 2402 (10-05)                                                                                        Page 1 of 1
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   ~* *****                     IMPORTANT INSURANCE INFORMATION
                                               Credit Disclosure

 Your credit history was ordered at the inception of your policy from a consumer reporting agency for use in
 determining an insurance score. This insurance score is used to underwrite and/or rate your insurance policy. Our
 inquiry does not affect your credit history in any way.

 Your credit report will only be ordered at the start of your policy unless you request an update. You may request a
 new credit-based score once each year to be used to rate your policy. To request an updated insurance score,
 please contact us at 1-800-282-1446.

 We are committed to respecting your privacy and safeguarding your personal information.




  IN2627 {08-12)                                                                                         Page 1 of 1
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                                                                                                                      HOMEOWNERS POLICY
                    AMCO INSURANCE COMPANY
                    1100 LOCUST ST                                                                             POLICY NUMBER:  HOM 0046960401-0
                    DES MOINES IA   60391-1100                                                                 ACCOUNT NUMBER: 8007b4143
                    (800) 282-1446
      AGENCY            BARRICK &ASSOCIATES INC                                                                                  Policy Period
                        HANOVER PA                                                                                    From: 02-07-14      To: 02-07-15
                                                                                                                           12:01 A.M. Standard Time
                                                         DECLARATIONS                                                       Effective Date of Change

                        NAME INSURED AND ADDRESS
                        YOHE, BRIAN
                        YORE, JILL
                        706 BROADWAY
                        HANOVER, PA                                   17331-2014
      The described residence premises covered hereunder is located at the                       PREVIOUS POLICY NUMBER
      above address, unless otherwise stated herein. ~No., Street, City, State, zip c            BANK OF AMERICA
                                                                                                 ISAOA/ATIMA
                                                                                                 PO BOX 961206
                                                                                                 FORT WORTH, TX                               76161-0206
                                                               r.~vFRor,F rerun i inniT~
      SECTION I                                                                                                    SECTION 11
        A.                         B. OTHER                     C. PERSONAL                  D. LOSS                E. PERSONAL             F. MEDICAL PAY
                                   STRUCTURES                      PROPERTY                   OF USE                   LIABILITY              EACH PERSON
                                                                                        ACTUAL LOSSES SUSTAINED

                176 700                     17 670                        123 690               IN 12 MOS.                    .~OO OOO                    2 000
     ~~.~. ~w~~o nn~o~~vv vivv~rc ~~~. i lulu i, vv~   VVILL   rr~i vrv~r i nr~i rr~rc i yr i n~ way iry cn~.caa yr    yow.



         COVERAGE                     DESCRIPTION                     PREMIUM              COVERAGES                    DESCRIPTION                  PREMIUM

      H03           05/01        S ecial Form                             501.13         125b9             06105      Per Prop Repi
                                 Gold Package                                            12567P            11104      Replacement Cost                     7.40
      H055              05/05    Identity Fraud                            45.00         12669             12/02      Back-up of Sewer                    23.73
      12747             12/01    Fungi/Bacteria                                          H0300PA           09/09      Spec Provisions
      IN0000            04109    Privacy Stmt                                            IN2402            10/05      Important Notice
      12601             10/05    Premier Endrsmnt                                        IN2627            08/12      Important Notice
      GAD1000           10/07    Important Notice




                                                                                                                      TOTAL PREMIUM                   577.26

      Additional
      Residence
       Occupied
      By Insured
                                                               Mort a e Loss Pa ee or Other Interest
     Loan Number          139929966


                       BANK OF AMERICA                                                   1ST
N                      ISAOAlATIMA                                                       MORT
                       PO BOX 961206
a                      FORT WORTH, TX                                  76161-0206
00
 0                                                                                                      AMCO INSURANCE COMPANY
                                                                                                                 Authorized Representative
      DIRECT BILL      1928   14040                                          INSURED COPY                                                800754143   74      17051
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      IN WITNESS WHEREOF, the company listed in the Declarations has caused this policy to be signed by its
      President and Secretary; and countersigned as may be required on the Declarations page by a duly authorized
      representative of the company.




      President —Gary A. Douglas                                 President —David G. Arango
      Nationwide Agribusiness Insurance Company                  Nationwide Assurance Company




      President —Mark A. Pizzi                                   President — W. Kim Austen
      Nationwide Affinity Insurance Company of America           ALLIED Property and Casualty Insurance Company
      Nationwide General Insurance Company                       AMCO Insurance Company
      Nationwide Mutual Fire Insurance Company                   Crestbrook Insurance Company
      Nationwide Mutual Insurance Company                        Depositors Insurance Company
      Nationwide Property and Casualty Insurance                 Nationwide Insurance Company of America
      Gompany



                                                                               ~~. a .~....~,

      President —Lisa E. Gobber                                  Secretary —Robert W. Horner, III
      Nationwide Insurance Gompany of Florida                    ALLIEQ Property and Casualty Insurance Company
                                                                 AMCO Insurance Gompany
                                                                 Crestbrook Insurance Company
                                                                 Depositors Insurance Company
                                                                 Nationwide Affinity Insurance Company of America
                 f
                                                                 Nationwide Agribusiness Insurance Company
                                                                 Nationwide Assurance Company
                                                                 Nationwide General Insurance Company
      President —David A. Bana                                   Nationwide Indemnity Company
      Nationwide Indemnity Company                               Nationwide Insurance Company of America
                                                                 Nationwide Insurance Company of Florida
                                                                 Nationwide Mutual Fire Insurance Company
                                                                 Nationwide Mutual Insurance Company
                                                                 Nationwide Property and Casualty Insurance
                                                                 Company




      Nationwide, the Nationwide framemark, and On Your Side are service marks of Nationwide Mutual Insurance
      Gompany.
      O 2011 Nationwide Mutual Insurance Company.

12501A (11-11)                                                                                               Page 1 of 1
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                                                                                          HO QR (01-00)

       YOUR HOMEOWNERS POLICY
       QUICK REFERENCE

                     DECU4RATIONS PAGE
                      Your Name
                      Location of Your Residence
                      Policy Period
                      Coverages
                      Amounts of Insurance
                      Amount of Deductible                   Beginning on the pages noted below
                                                                   for policy forms HO 00
                                                              02    03    04   05    06
                     AGREEMENT                                1     1     1    1     1
                     DEFINITIONS                              1     1     1    1     1
                     DEDUCTIBLE                               3     3      3   3     2

  SECTION 1          COVERAGES                                 3     3    3     3     3
  YOUR                Property Coverages
  PROPERTY            Loss of Use
                      Additional Coverages
                        Debris Removal
                        Trees, Shrubs and Plants
                        Credit Card
                        Glass or Safety Glazing Material

                     PERILS INSURED AGAINST                   10    10    10   12    10
                     EXCLUSIONS                               12    14    11   14    12
                     CONDITIONS                               13    15    13   15    13
                      Insurable Interest
                      Duties After Loss
                      Loss Settlement
                      Mortgage Clause

  SECTION II         COVERAGES                                16    19    15   19    16
  YOUR                Personal Liability
  LIABILITY           Medical Payments to Others

                     EXCLUSIONS                               17    19    15   19    16
                     ADDITIONAL COVERAGES                     22    24    19   24    20
                      Claims Expenses
                      First Aid Expenses
                      Damage to Property of Others
                      Loss Assessment

                     CONDITIONS                               23    25    20   25    21
                      Limit of Liability
                      Duties After Loss
                      Policy Period

  SECTION            CONDITIONS                               24    26    22   26    23
  SECTION 11         Cancellation
                     Non-Renewal




HO QR (01-0Q)
 HOM 00459604010                              INSURED COPY                                  74   17053
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                                                                                                       HO 3 (05-01~

                                                HOMEOWNERS 3
                                                 SPECIAL FORM



                                                    AGREEMENT
 We will provide the insurance described in this policy in return for the premium and compliance with all applicable
 provisions of this policy.
                                                    DEFINITIONS
 A. In this policy, "you" and "your" refer to the                                water by wind, engine power or
    "named insured" shown in the Declarations and                                electric motor.
    the spouse if a resident of the same household.                         4) Motor vehicle means a "motor
    "We," "us" and "our" refer to the Company                                    vehicle" as defined in 7. below.
    providing this insurance.                                     2.    "Bodily injury" means bodily harm, sickness
 B. In addition, certain words and phrases are                          or disease, including required care, loss of
    defined as follows:                                                 services and death that results.
    1. "Aircraft Liability", "Hovercraft Liability",              3.    "Business" means:
        "Motor Vehicle Liability" and "Watercraft                       a. A trade, profession or occupation
        Liability", subject to the provisions in b.                         engaged in on a full- time, pars-time or
        below, mean the following:                                          occasional basis; or
        a. Liability for "bodily injury" or "property                   b. Any other activity engaged in for money
            damage" arising out of the;                                     or other compensation, except the
            1) Ownership of such vehicle or craft                           following;
                  by an "insured";                                          1y Volunteer activities for which no
            2) Maintenance, occupancy, operation,                                money is received other than
                  use, loading or unloading of such                              payment for expenses incurred to
                  vehicle or craft by any person;                                perform the activity;
            3) Entrustment of such vehicle or craft                         2} Providing home day care services
                  by an "insured" to any person;                                 for which no compensation is
            4) Failure to supervise or negligent                                 received, other than the mutual
                  supervision of any person involving                            exchange of such services; or
                  such vehicle or craft by an "insured';                    3) The rendering of home day care
                  and                                                            services to a relative         of an
            5) Vicarious liability, whether or not                               "insured".
                  imposed by law, for the actions of a             4.   "Employee" means an employee of an
                  child or minor involving such vehicle                 "insured", or an employee leased to an
                  or craft.                                             "insured" by a labor leasing firm under an
        b. For the purpose of this definition:                          agreement between an "insured" and the
                                                                        labor leasing firm, whose duties are other
            1) Aircraft means any contrivance                           than those performed by a residence
                  used or designed for flight except                    employee".
                  model or hobby aircraft not used or
                  designed to carry people or cargo;               5.   "Insured" means:
            2) Hovercraft means aself-propelled                         a. You and residents of your household
                  motorized ground effect vehicle and                       who are:
                  includes, but is not limited to,                          1) Your relatives; or
                  flarecraft and air cushion vehicles;                      2) Other persons under the age of 21
                  and                                                            and in the care of any person
            3) Watercraft means a craft principally                              named above;
                  designed to be propelled on or in

  HO 3 {05-01)                                                                                         Page 1 of 26
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  HO 3 (05-01)
         b. A student enrolled in school full-time, as              e. Vacant land, other than farm land,
             defined by the school, who was a                           owned by or rented to an "insured";
             resident of your household before                      f. Land owned by or rented to an "insured"
             moving out to attend school, provided                      on which a one, two, three or four family
             the student is under the age of:                           dwelling is being built as a residence for
             1) 24 and your relative; or                                an "insured";
             2) 21 and in your care or the care of a                g. Individual or family cemetery plots or
                 person described in a.1) above; or                     burial vaults of an "insured"; or
         c. Under Section II, "insured" also means:                 h. Any part of a premises occasionally
             1) With respect to animals or                              rented to an "insured" for other than
                 watercraft to which this policy                        "business" use.
                 applies, any person or organization          7.    "Motor Vehicle" means:
                 legally responsible for these animals              a. A self-propelled land or amphibious
                 or watercraft which are owned by                        vehicle; or
                 you or any person included in 5.a.
                                                                    b. Any trailer or semi-trailer which is being
                 or 5.b. above. "Insured" does not
                                                                        carried on, towed by or hitched for
                 mean a person or organization
                                                                         towing by a vehicle described in a.
                 using or having custody of these
                                                                        above.
                 animals or watercraft in the course
                 of any "business" or without consent         8.    Under Section II "Occurrence" means an
                 of the owner; or                                   accident, including continuous or repeated
                                                                    exposure to substantially the same general
             2) With respect to a "motor vehicle" to
                                                                    harmful conditions, which results, during the
                 which this policy applies:
                                                                    policy period, in:
                 a) Persons while engaged in your
                                                                    a. "Bodily injury"; or
                      employ or that of any person
                      included in 5.a. or 5.b. above;               b. "Property damage".
                      or                                      9.    Under Section II, "Property damage" means
                 b) Other persons using the vehicle                 physical injury to, destruction of, or loss of
                      on an "insured location" with                 use of tangible property.
                      your consent.                           10.   "Residence employee" means:
             Under both Section I and II, when the                  a. An employee of an "insured", or an
             word an immediately precedes the word                      employee leased to an "insured" by a
             "insured", the words an "insured"                           labor leasing firm, under an agreement
             together mean one or more "insureds".                       between an "insured" and the labor
      6. "Insured location" means:                                       leasing firm, whose duties are related to
                                                                         the maintenance or ~ use of the
         a. The "residence premises";                                     residence       premises ,      including
         b. The part of other premises, other                            household or domestic services; or
             structures and grounds used by you as                  b. One who performs similar duties
             a residence; and                                           elsewhere not related to the "business"
             1) Which is shown in the Declarations;                     of an "insured".
                 or                                                 A residence employee" does not include a
             2) Which is acquired by you during the                 temporary employee who is furnished to an
                 policy period for your use as a                    "insured" to substitute for a permanent
                 residence;                                         "residence employee" on leave or to meet
         c. Any premises used by you in connection                  seasonal or short-term workload conditions.
             with a premises described in 6.a. and            11.   "Residence premises" means:
             6.b. above;                                            a. The one family dwelling where you
         d. Any part of a premises:                                      reside;
             1) Not owned by an "insured"; and                      b. The two, three or four family dwelling
             2) Where an "insured" is temporarily                        where you reside in at least one of the
                 residing;                                              family units; or

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          c. That part of any other building where                    e. Any service, treatment, advice or
               you reside;                                                 instruction   for    the    purpose        of
          and which is shown as the "residence                            appearance or skin enhancement, hair
          premises" in the Declarations.                                   removal or replacement, personal
                                                                          grooming or tattooing;
          "Residence premises" also includes other
          structures and grounds at that location.                    f. Optometry or optical or hearing aid
                                                                          services, including but not limited to the
          See condition H under SECTIONS I AND 11 -
                                                                           prescribing,       preparing,        fitting,
          CONDITIONS.                                                     demonstrating       or    distributing      of
      12. "Professional Services" means:                                  ophthalmic lenses and similar products
          "Bodily injury", "property damage", or added                    or hearing aid services;
          by endorsement, "personal injury" due to                    g. Body piercing services;
          rendering or failure to render any
                                                                      h. Pharmacological services; and
          professional service. This includes but is not
          limited to:                                                 i. Any other health or therapeutic service,
                                                                           treatment, advice or instruction.
          a. Legal, accounting         or advertising
               services;                                          13. "Actual Cash Value" means:
          b. Preparing, approving, or failing to                      The cost to repair or replace Covered
               prepare or approve maps; drawings,                     Property, at the time of loss or damage,
               options, reports, surveys, change                      whether that property has sustained partial
               orders, designs or specifications;                     or total loss or damage, with material of like
                                                                      kind and quality, subject to a deduction for
          c. Supervisory, inspection, engineering, or                 deterioration,         depreciation           and
               architectural services;                                obsolescence.
          d. Medical, surgical, dental, x-ray or
                                                                  14. "Named Insured" means the first listed
               nursing services treatment, advice or
               instruction;                                           "insured" on the policy.


                                                    DEDUCTIBLE
  Unless otherwise noted in this policy, the following         that part of the total of all loss payable under
  deductible provision applies:                                SECTION I - PROPERTY COVERAGES that
                                                               exceeds the deductible amount shown in the
  Subject to the policy limits that apply, we will pay
                                                               Declarations.
  only
                                      SECTION I —PROPERTY COVERAGES
  A. COVERAGE A -Dwelling                                     clear space. This includes structures
                                                              connected to the dwelling by only a fence,
     1. We cover:                                             utility line, or similar connection.
        a. The dwelling on the "residence                     This coverage does not apply to land,
             premises" shown in the Declarations,             including land on which the other structures
             including structures attached to the             are located.
             dwelling; and
                                                           2. We do not cover other structures:
        b. Materials and supplies located on or
             next to the "residence premises" used to         a. Used in whole or in part for "business";
             construct, alter or repair the dwelling or             or
             other structures on the "residence               b. Rented or held for rental to any person
             premises".                                             not a tenant of the dwelling, unless used
     2. This coverage does not apply to land,                       solely  as a private garage.
        including land on which the dwelling is            3. The    limit of liability for this coverage will not
        located.                                              be more than 10% of the limit of liability that
  B. COVERAGE B -Other Structures                             applies to Coverage A. Use of this coverage
                                                              does not reduce the Coverage A limit of
     1. We cover other structures on the "residence
                                                              liability.
        premises" set apart from the dwelling by

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                                                                       equipment and outboard engines or
  C. COVERAGE C -Personal Property                                     motors.
     1. Covered Property                                            d. $1500 on trailers or semi-trailers not
                                                                       used with watercraft of all types.
        We cover personal property owned or used
        by an "insured" while it is anywhere in the                 e. $150b for loss by theft of jewelry,
        world. Before a loss and at your request, we                   watches, furs, precious and semi-
        will cover personal properly owned by:                         precious stones.
        a. Others while the property is on the part                 f. $2504 for loss by theft of firearms and
             of the "residence premises" occupied by                   related equipment.
             an "insured"; or                                       g. $2504 for loss by theft of silverware,
        b. A guest or a "residence employee",                          silver-plated ware, goldware, gold-plated
             while the property is in any residence                    ware, platinumware, platinum plated
             occupied by an "insured".                                 ware and pewterware. This includes
                                                                       flatware, hollowware, tea sets, trays and
     2. Limit For Property At Other Residences                         trophies made of or including silver, gold
        Our limit of liability for personal property                   or pewter.
        usually located at an "insured's" residence ,
                                                                    h. $2500 on property, on the "residence
        other than the residence premises , is 10%                     premises", used mainly for "business"
        of the limit of liability for Coverage C, or                   purposes.
        $1fl00, whichever is greater. However, this
        limitation does not apply to personal                       ~. $500 on property, away from the
        property:                                                      "residence premises", used mainly for
                                                                       "business" purposes. However, this limit
        a. Moved from the "residence premises"
                                                                       does not apply to loss to electronic
             because it is being repaired, renovated                   apparatus and other property as
             or rebuilt and is not fit to lire in or store             described in categories j. and k. below.
             property in; or
        b. In a newly acquired principal residence                  1• $~~00 for electronic equipment and
                                                                       antennas, while in or upon a motor
             for 30 days from the time you begin to
                                                                       vehicle .This coverage applies only if
             move the property there.
                                                                       such equipment can be operated by
     3. Special Limits of Liability                                    power from the "motor vehicle's"
        These special limits do not increase the                       electrical system while still having the
        Coverage C limit of liability. The special limit               ability to be operated by other power
        for each category below is the total limit for                 sources.
        each loss for all property in that category.                k. $1500 for electronic equipment and
        a. $200 on money, bank notes, bullion,                         antennas used primarily for "business",
             gold other than goldware, silver other                    while away from the "residence
             than silverware, platinum other than                      premises" and not in or upon a "motor
             platinumware, coins, medals, scrip,                       vehicle". Such equipment muss be
             stored value cards and smart cards.                       capable of being operated by power
        b. $1500 on securities, accounts, deeds,                       from the "motor vehicle's" electrical
             evidences of debt, letters of credit, notes               system while still having the ability to be
             other than bank notes, manuscripts,                       operated by other power sources.
             personal records, passports, tickets and            4. Property Not Covered
             stamps. This dollar limit applies to these             We do not cover:
             categories regardless of the medium
                                                                    a. Articles separately described and
             {such as paper or computer software)                      specifically insured, regardless of the
             on which the material exists.
                                                                       limit for which they are insured, in this or
             This limit includes the cost to research,                 other insurance;
             replace or restore the information from
                                                                    b. Animals, birds or fish;
             the lost or damaged material.
        c. $1500 on watercraft of all types,                        ~• "Motor vehicles" or all other motorized
                                                                       land      conveyances      including     the
             including their trailers, furnishings,


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                                                                                                          HO 3 (05-01)
              following, whether furnished by the                        h. Property rented or held for rental to
              manufacturer or an individual:                                  others off the "residence premises";
                                                                         i. "Business" data, including such data
             1) Their parts or equipment, whether                             stored in:
                   attached to or separated from the                          1) Books of account, drawings or other
                   "motor vehicle" or motorized land                               paper records; or
                   conveyance; or                                             2) Computers and related equipment.
             2) Accessory equipment; or                                       We do cover the cost of blank recording
             3) Any device or instrument, including                           or storage media, and of pre-recorded
                   accessories or antennas, for the                           computer programs available on the
                   transmitting, receiving, recording or                      retail market;
                   reproduction of sound or picture                      j. Credit cards, electronic fund transfer
                   which can only be operated by the                          cards or access devices used solely for
                   power from the electrical system of                        deposit, withdrawal or transfer of funds
                   the "motor vehicle" or motorized                           except as provided in E. 6. Credit Card,
                   land conveyance.        Tape, discs,                       Electronic Fund Transfer Card or
                   reels, cassettes or similar items,                          Access Device, Forgery and Counterfeit
                   including carrying cases for any of                         Money under SECTION I -PROPERTY
                   these, while in a motorized land                            COVERAGE; or
                   vehicle shall not be considered
                   accessory equipment. The most we                      k. Water or steam.
                   will pay is $300 in any one loss,             D. COVERAGE D -Loss Of Use
                   regardless of the number of such                 The limit of liability for Coverage D is the total
                   items. The loss must be caused by                limit for the coverages in 1. Additional Living
                   a covered peril.                                 Expense, 2. Fair Rental Value, and 3. Civil
             We do cover vehicles or conveyances                    Authority Prohibits Use below.
             not subject to motor vehicle registration              1. Additional Living Expense
             which are:
                                                                         If a Toss covered under Section I makes that
             1) Used solely to service the                               part of the "residence premises" where you
                   "insured's" residence;                                reside not fit to live in, we cover any
             2) Designed to assist the handicapped;                      necessary increase in living expenses
                   or                                                    incurred by you so that your household can
             3) A motorized golf cart while being                        maintain its normal standard of living.
                   operated to or from, or on the                        Payment will be for the shortest time
                   premises of a golf course.                            required to repair or replace the damage or,
          d. Aircraft meaning any contrivance used                       if you permanently relocate, the shortest
             or designed for flight including any parts                  time required for your household to settle
             whether or not attached to the aircraft,                    elsewhere.
             except model or hobby aircraft not used                2. Fair Rental Value
             or designed io carry people or cargo;                       If a loss covered under Section 1 makes that
          e. Hovercraft and parts. Hovercraft means                      part of the "residence premises" rented to
             a self-propelled motorized ground effect                    others or held for rental by you not fit to live
             vehicle and includes, but is not limited                    in, we cover the fair rental value of that part
             to, flarecraft and air cushion vehicles;                    of the "residence premises" rented to others
          f. Property of roomers, boarders and other                     or held for rental by you less any expenses
             tenants, except property of roomers and.                    that do not continue while the premises is
             boarders related to an "insured'                            not fit to live in.
                                              ;
          g. Property in an apartment regularly                          Payment will be for the shortest time
             rented or held for rental to others by an                   required to repair or replace that part of the
             "insured", except as provided in E. 10.                     premises rented or held for rental.
             Landlord's Furnishings under SECTION                   3. Civil Authority
               -PROPERTY COVERAGES;

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        If a civil authority prohibits you from use of                     declares the area in which the
        the "residence premises" as a result of                            "residence premises" is located to
        direct damage to neighboring premises by a                         be a disaster area as a result of
        Peril Insured Against in this policy, we cover                     such weather conditions; or
        the Additional Living Expense and Fair                        5) The trees} does not damage a
        Rental Value loss as provided under 1.                             covered structure, but:
        Additional Living Expense and 2. Fair Rental
                                                                           a) Blocks) a driveway on the
        Value above for no more than two weeks.                                "residence premises" which
     4. Loss or Expense Not Covered                                            prevents a "motor vehicle", that
        We do not cover loss or expense due to                                 is registered for use on public
        cancellation of a lease or agreement.                                  roads or property, from entering
        The periods of time under 1. Additional                                or leaving the "residence
        Living Expense and 2. Fair Rental Value                                premises"; or
        above are not limited by expiration of this                        b) Blocks) a ramp or other fixture
        policy. The maximum period for payment                                 designed        to     assist   a
        shall not exceed 12 consecutive months.                                handicapped person to enter or
  E. ADDITIONAL COVERAGES                                                      leave the dwelling building.
                                                                      The $1000 limit is the most we will pay
     1. Debris Removal
                                                                      in any one loss regardless of the
        a. We will pay your reasonable expense                        number of fallen trees. No more than
             for the removal of:                                      $500 of this limit will be paid for the
             1) Debris of covered property if a Peril                 removal of any one tree.
                  Insured Against that applies to the                 This coverage is additional insurance.
                  damaged property causes the loss;
                  o~                                           2. Reasonable Repairs
             2) Ash, dust or particles from a                     a. We will pay the reasonable cost incurred
                                                                      by you for necessary measures taken
                  volcanic eruption that has caused
                  direct loss to a building or property               solely to protect covered property that is
                  contained in a building.                            damaged by a Peril Insured Against
                                                                      from further damage.
             This expense is included in the limit of
             liability that applies to the damaged                b. If the measures taken involve repair to
             property. If the amount to be paid for the               other damaged property, we will pay for
             actual damage to the property plus the                   those measures only if that property is
                                                                      covered under this policy and the
             debris removal expense is more than
             the limit of liability for the damaged                   damage to that property is caused by an
             property, an additional 5% of that limit of              applicable Peril Insured Against. This
             liability is available for debris removal                coverage does not:
             expense.                                                 1) Increase the limit of liability that
                                                                           applies to the covered property; or
          b. We will also pay your reasonable
             expense, up to $1000, for the removal                    2) Relieve you of your duties, in case
             from the "residence premises" of:                             of a Ioss to covered property,
             1) Your trees} felled by the peril of                         described in B.4. under SECTION
                  Windstorm or Hail or Weight of Ice,                      -CONDITIONS.
                  Snow or Sleet; or                            3. Trees, Shrubs and Other Plants
             2) A neighbor's trees) felled by a Peril             We cover trees, shrubs, plants or lawns, on
                  Insured Against under Coverage C;               the "residence premises", for loss caused by
             provided:                                            the following Perils Insured Against:
             3) The tree(s~ damages) a covered                    a. Fire or Lightning;
                  structure;                                      b. Explosion;
             4) Windstorm or Hail or Weight of Ice,               a. Riot or Civil Commotion;
                  Snow or Sleet causes damage to a                d. Aircraft;
                  structure covered under this policy
                  and the Pennsylvania Governor
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         e. Vehicles not owned or operated by a                        3) Loss to an "insured" caused by
              resident of the "residence premises";                         forgery or alteration of any check or
         f. Vandalism or Malicious Mischief; or                             negotiable instrument; and
         g. Theft.                                                     4) Loss to an "insured" through
                                                                            acceptance in good faith of
         We will pay up to 5% of the limit of liability
                                                                            counterfeit     United     States     or
         that applies to the dwelling or $10,000,
                                                                            Canadian paper currency.
         whichever is less, for all trees, shrubs,
         plants or lawns on the "residence premises".                  All loss resulting from a series of acts
         No more than $500 of this limit will be                       committed by any one person or in
         available for any one tree, shrub or plant.                   which any one person is concerned or
         We do not cover trees, shrubs, plants or                      implicated is considered to be one loss.
         lawns:                                                        This coverage is additional insurance.
         a. Grown for "business" purposes.                             No deductible applies to this coverage.
         b. That are part of, or a continuation of, a               b. We do not cover:
              forest including national forest or wildlife             1) Use of a credit card, electronic fund
              preserve.                                                     transfer card or access device:
         This coverage is additional insurance.                             a) By a resident of your household;
      4. Fire Department Service Charge                                     b) By a person who has been
         We will pay up to $500 for your liability                               entrusted with either type of
         assumed by contract, agreement, ordinance                               card or access device; or
         or statute for fire department charges                             c) If an "insured" has not complied
         incurred when the fire department is called                             with all terms and conditions
         to save or protect covered property from a                              under which the cards are
         Peril Insured Against.                                                  issued or the devices accessed.
         This coverage is additional insurance. No                     2) Loss arising out of "business" use or
         deductible applies to this coverage.                               dishonesty of an "insured".
      5. Property Removed                                           c. If the coverage in 6.a. above applies,
         We insure covered property against direct                     the following defense provisions also
         loss from any cause while being removed                       apply:
         from a premises endangered by a Peril                         1) We may investigate and settle any
         Insured Against and for no more than 30                            claim or suit that we decide is
         days while removed.                                                appropriate. Our duty to defend a
         This coverage does not change the limit of                         claim or suit ends when the amount
         liability that applies to the properly being                       we pay for the loss equals our limit
         removed.                                                           of liability.
      8. Credit Card, Electronic Fund Transfer                         2) If a suit is brought against an
         Card or Access Device, Forgery and                                 "insured" for liability under a.1) or 2)
         Counterfeit Money                                                  above, we will provide a defense at
                                                                            our expense by counsel of our
         a. We will pay up to $1000 for:
                                                                            choice.
              1) The legal obligation of an "insured"
                                                                       3) We have the option to defend at our
                   to pay because of the theft or
                                                                            expense an "insured" or an
                   unauthorized use of credit cards
                                                                            "insured's" bank against any suit for
                   issued to or registered in an
                                                                            the enforcement of payment under
                   "insured's" name;
                                                                            a.3) above.
              2) Loss resulting from theft or
                   unauthorized use of an electronic             ~• Loss Assessment
                   fund transfer card or access device              a. We will pay up to $1000 for your share
                   used for deposit, withdrawal or                     of loss assessment charged during the
                   transfer of funds, issued to or                     policy period against you as owner or
                   registered in an "insured's" name;                  tenant of the "residence premises" by a
                                                                       corporation or association of property
                                                                       owners. The assessment must be made
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             as a result of direct loss to the property,                  covered buildings and personal
             owned by all members collectively, of                        property for loss insured by this
             the type that could be covered by this                       collapse coverage;
             policy if owned by you, caused by a                     2) Decay that is hidden from view,
             Peril Insured Against under Coverage A,                      unless the presence of such decay
             other than                                                   is known to an "insured" prior to
             1) Earthquake; or                                            collapse;
             2) Land shock waves or tremors                          3) Insect or vermin damage that is
                  before, during or after a volcanic                      hidden from view, unless the
                  eruption.                                               presence of such damage is known
             The limit of $100fl is the most we will                      to an "insured" prior to collapse;
             pay with respect to any one loss,                       4) Weight of contents, equipment,
             regardless       of   the    number      of                  animals or people;
             assessments. We will only apply one                     5) Weight of rain which collects on a
             deductible, per building or structure, to                    roof; or
             the total amount of any one loss to the
                                                                     6) Use of defective material or
             property described above, regardless of
                                                                          methods in construction, remodeling
             the number of assessments.
                                                                          or renovation if the collapse occurs
         b. We do not cover loss assessments                              during       the    course    of    the
             charged against you or a corporation or                      construction,        remodeling      or
             association of property owners by any                        renovation.
             governmental body.
                                                                  c. Loss to an awning, fence, patio, deck,
         This coverage is additional insurance.                      pavement, swimming pool, underground
      8. Collapse                                                    pipe, flue, drain, cesspool, septic tank,
         a. With respect to this Additional coverage:                foundation, retaining wall, bulkhead,
                                                                     pier, wharf or dock is not included under
             1) Collapse means an abrupt falling                     items b.2) through 6) above, unless the
                  down or caving in of a building or                 loss is a direct result of the collapse of a
                  any part of a building with the result             building or any part of a building.
                  that the building or part of the
                  building cannot be occupied for its             d. This coverage does not increase the
                  current intended purpose.                          limit of liability applying to the damaged
                                                                     covered property.
             2) A building or any part of a building
                  that is in danger of falling down or         9. Glass or Safety Glazing Material
                  caving in is not considered to be in            a. We cover:
                  a state of collapse.                               1) The breakage of glass or safety
             3) Apart of a building that is standing                      glazing material which is part of a
                  is not considered to be in a state of                   covered building, storm door or
                  collapse even if it has separated                       storm window.
                  from another part of the building.                 2) The direct physical loss to covered
             4) A building or any part of a building                      property caused solely by the
                  that is standing is not considered to                   pieces, fragments or splinters of
                  be in a state of collapse even if it                    broken glass or safety glazing
                  shows evidence of cracking,                             material which is part of a building,
                  bulging, sagging, bending, leaning,                     storm door or storm window.
                  settling, shrinkage or expansion.               b. This coverage does not include loss:
         b. We insure for direct physical loss to                    1) Ta covered property which results
             covered property involving collapse of a                     because the glass or safety glazing
             building or any part of a building if the                    material has been broken, except as
             collapse was caused by one or more of                        provided in a.2) above, or
             the following:
                                                                     2) On the "residence premises" if the
             1) Perils Insured Against under                              dwelling has been vacant for more
                  Coverage C. These perils apply to                       than       30     consecutive     days

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                     immediately before the loss. A               other structure damaged by a Perii
                     dwelling being constructed is not            Insured Against.
                     considered vacant.                 b. You may use all or part of this ordinance
          c. This coverage does not increase the             or law coverage to pay for the increased
               limit of liability that applies to the        costs you incur to remove debris
               damaged property.                             resulting     from      the     construction,
      10. Landlord's Furnishings                             demolition, remodeling, renovation,
          We will pay up to $2500 for your appliances,       repair or replacement of property as
          carpeting and other household furnishings,         staled in a. above.
          in each apartment on the "residence           a. We do not cover:
          premises" regularly rented or held for rental      1) The loss in value to any covered
          to others by an "insured", for loss caused by           building or other structure due to the
          a Peril Insured Against in C, other than                requirements of any ordinance or
          Theft.                                                  law; or
          This limit is the most we will pay in any one      2) The costs to comply with any
          loss regardless of the number of appliances,            ordinance or law which requires any
          carpeting, or other household furnishings               "insured" or others to test for,
          involved in the loss.                                   monitor, clean up, remove, contain,
          This coverage does not increase the limit of            treat, detoxify or neutralize, or in any
          liability applying to the damaged property.             way respond to, or assess the
      11. Ordinance or Law                                        effects of, "pollutants" in or on any
                                                                  covered building or other structure.
          a. You may use up to 1d% of the limit of
               liability that applies to Coverage A for           "Pollutants" means any solid, liquid,
               the increased costs you incur due to the           gaseous or thermal irritant or
               enforcement of any ordinance or law                contaminant,       including    smoke,
               which requires or regulates:                       vapor, soot, fumes, acids, alkalis,
                                                                  chemicals and waste. Chemicals
               1) The         construction,     demolition,       include, but are nat limited to,
                     remodeling, renovation or repair of          petroleum, petroleum derivatives,
                     that part of a covered building or
                                                                  petroleum synthetics and farm
                     other structure damaged by a Peril           chemicals. Waste includes materials
                     Insured Against;                             to be recycled, reconditioned or
               2) The demolition and reconstruction               reclaimed.
                     of the undamaged part of a covered           This exception applies even if the
                    building or other structure, when
                                                                  irritant or contaminant has a
                     that building or other structure must        function wish respect to your
                    be totally demolished because of              property or "business".
                     damage by a Peril Insured Against
                     to another part of that covered    This coverage is additional insurance.
                    building or other structure; or 12. Grave Markers
               3) The        remodeling,     removal    We will pay up to $5000 for grave markers,
                                                         or
                    replacement of the portion of the   including mausoleums, on or away from the
                     undamaged part of a covered        "residence premises" for loss caused by a
                    building      or    other     structure
                                                        Peril Insured Against under Coverage C.
                    necessary        to   complete      the
                                                        This coverage does not increase the limits
                    remodeling, repair or replacement of
                                                        of liability that apply to the damaged
                    that part of the covered building or
                                                        covered                                 property.
                             SECTION I —PERILS INSURED AGAINST
          THIS SECTION ALSO CONTAINS EXCEPTIONS TO OR EXCLUSIONS FROM COVERAGE
  A. COVERAGE A -Dwelling And COVERAGE B            1. We insure against risk of direct physical loss
     - Other Structures                                 to property described in Coverages A and
                                                        B,.
                                                    2. We do not insure, however, for loss:
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          a. Excluded      under     SECTION 1 -                  intentional     and    wrongful     act
             EXCLUSIONS;                                          committed in the course of the
          b. Involving collapse, other than as                    vandalism or malicious mischief, if
             provided in E.8. under SECTION I -                   the dwelling has been vacant for
             PROPERTY COVERAGES; and                              more than 30 consecutive days
                                                                  immediately before the loss. A
          c. Caused by:                                           dwelling being constructed is not
             1) Freezing of a plumbing, heating, air              considered vacant;
                 conditioning or automatic fire                5) Constant or repeated seepage or
                 protective sprinkler system or of a              leakage of water or steam over a
                 household       appliance,   or     by           period of weeks, months or years
                 discharge, leakage or overflow from              from within:
                 within the system or appliance
                 caused by freezing. This exclusion               a) A       plumbing,     heating, air
                 does not apply if you have used                      conditioning or automatic fire
                 reasonable care to:                                  protective sprinkler system or a
                                                                      household appliance on the
                 a) Maintain heat in the building; or                 "residence premises"; or
                 b) Shut off the water supply and                 b) A storm drain or water, steam or
                     drain      all    systems     and                sewer pipes off the "residence
                     appliances of water;                             premises".
                 However, if the building is protected            For purposes of this provision, a
                 by an automatic fire protective                  plumbing system or household
                 sprinkler system, you must use                   appliance does not include a sump,
                 reasonable care to continue the                  sump pump or related equipment or
                 water supply and maintain heat in                a roof drain, gutter, downspout or
                 the building for coverage to apply.              similar fixtures or equipment; or
                 For purposes of this provision a              8) Any of the following:
                 plumbing system or household
                 appliance does not include a sump,               a) Wear and           tear, marring,
                 sump pump or related equipment or                    deterioration;
                 a roof drain, gutter, downspout or               b) Mechanical breakdown, latent
                 similar fixtures or equipment;                       defect, inherent vice, or any
             2) Freezing, thawing, pressure or                        quality in property that causes it
                 weight of water or ice, whether                      is damage or destroy itself;
                 driven by wind or not, to a:                     c} Smog, rust or other corrosion,
                 a) Fence, pavement, patio or                         fungi, fungus; mold, wet or dry
                     swimming pool;                                   rot;
                 b) Footing, foundation, bulkhead,                d) Smoke          from     agricultural
                     wall, or any other structure or                  smudging          or      industrial
                     device that supports all or part                 operations;
                     of a building, or other structure;           e) Discharge, dispersal, seepage,
                     or                                               migration, release or escape of
                 c) Retaining wall or bulkhead that                   pollutants unless the discharge,
                      does not support all or part of a               dispersal, seepage, migration,
                      building or other structure; or                 release or escape is itself
                                                                      caused by a Peril Insured
                 d) Pier, wharf or dock;                              Against under Coverage C of
              3) Theft in or to a dwelling under                      this policy.
                 construction, or of materials and                    "Pollutants" means any solid,
                 supplies for use in the construction                 liquid, gaseous or thermal
                 until the dwelling is finished and                   irritant or contaminant, including
                 occupied;                                            smoke, vapor, soot, fumes,
              4) Vandalism and malicious mischief,                    acids, alkalis, chemicals and
                 and any ensuing loss caused by any                   waste. Chemicals include, but

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                      are not limited to, petroleum,                         apply to surface water and water below
                      peiroleum              derivatives,                    the surface of the ground do not apply to
                      petroleum synthetics and farm                          loss by water covered under Exception
                      chemicals. Waste          includes                     to c.6) above.
                      materials to be recycled,                         Under A.2.b. and c. above, any ensuing
                      reconditioned or reclaimed;                       Toss to property described in Coverages A
                      In this provision, any reference                  and B not precluded by any other provision
                      to "pollutant" applies whether or                 in this policy is covered.
                      not the irritant or contaminant           B. COVERAGE C -Personal Property
                      has any function with respect to
                      your property or "business".                 We insure for direct physical loss to the property
                                                                   described in Coverage C caused by any of the
                  f~ Settling, shrinking, bulging or               following perils unless the loss is excluded in
                      expansion, including resultant               SECTION I —EXCLUSIONS.
                      cracking,       of     bulkheads,
                      pavements, patios, footings,                 1. Fire Or Lightning
                      foundations, walls, floors, roofs            2. Windstorm Or Hail
                      or ceilings;                                      This peril does not include loss to the
                  g) Birds, vermin, rodents or                          property contained in a building caused by
                       insects; or animals owned or                     rain, snow, sleet, sand or dust unless the
                       kept by an "insured"; or                         direct force of wind or hail damages the
                  h) Tree, shrub, or bush roots.                        building causing an opening in a roof or wall
                                                                        and the rain, snow sleet, sand or dust enters
             Exception to c.6)                                          through this opening.
             Unless the loss is otherwise excluded,                     This peril includes loss to watercraft and
             we cover loss to property covered under                    their trailers, furnishings, equipment, and
             Coverage A or B resulting from an                          outboard engines or motors, only while
             accidental discharge or overflow of                        inside a fully enclosed building.
             water or steam from within a:
                                                                   3. Explosion
                  Plumbing, heating, air conditioning
                  or automatic fire protective sprinkler           4. Riot Or Civil Commotion
                  system or household appliance on                 5. Aircraft
                  the "residence premises". This                        This peril includes self-propelled missiles
                  includes the cost to tear out and                     and spacecraft.
                  replace any part of a building, or               6. Vehicles
                  ether structure, on the "residence
                  premises", but only when necessary               7. Smoke
                  to repair the system or appliance.                    This peril means sudden and accidental
                  However, such tear out and                            damage from smoke, including the emission
                  replacement coverage only applies                     or pullback of smoke, soot, fumes or vapors
                  to other structures if the water or                   from a bailer, furnace or related equipment.
                  steam causes actual damage io a                       This peril does not include loss caused by
                  building     on     the     "residence                smoke from agricultural smudging or
                  premises".                                            industrial operations.
             We do not cover loss to the system or                 S. Vandalism Or Malicious Mischief
             appliance from which this water or
                                                                   9. Theft
             steam escaped.
                                                                        a. This peril includes attempted theft and
             For purposes of this provision, a
                                                                              loss of property from a known place
             plumbing       system       or   household
                                                                              when it is likely that the property has
             appliance does not include a sump,
                                                                              been stolen.
             sump pump or related equipment ar a
             roof drain, gutter, downspout or similar                   b. This peril does not include loss caused
             fixtures or equipment.                                           by theft:
             SECTION I -EXCLUSION A.3. Water                                  1) Committed by an "insured";
             Damage, paragraphs a. and c. that

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             2) In or to a dwelling under                              3) On the "residence premises"
                  construction, or of materials and                        caused by accidental discharge or
                  supplies for use in the construction                     overflow which occurs off the
                  until the dwelling is finished and                       "residence premises";
                  occupied;                                            4) Caused by mold, fungus or wet rot;
             3) From that part of a "residence                             or
                  premises" rented by an "insured" to                  5) Caused by constant or repeated
                  other than an "insured"; or                              seepage or leakage over a period of
             4) That occurs off the "residence                             weeks, months or years.
                  premises" of:                                    c. In this peril, a plumbing system or
                  a) Trailers,      semi-trailers    and               household appliance does not include a
                       campers;                                        sump, sump pump or related equipment
                  b) Watercraft of all types, and their                or a roof drain, gutter, downspout or
                       furnishings, equipment and                      similar fixtures or equipment.
                       outboard engines or motors; or              d. SECTION I -EXCLUSION A.3. Water
                  c) Property while at any other                       Damage, paragraphs a. and c. that
                       residence owned by, rented to,                  apply to surface water and water below
                       or occupied by an "insured",                    the surface of the ground do not apply to
                       except while an "insured" is                    loss by water covered under this peril
                       temporarily      living    there.               12.
                        Property of an "insured" who is        13. Sudden And Accidental Tearing Apart,
                       a student is covered while at the           Cracking, Burning or Bulging
                        residence the student occupies             This peril means sudden and accidental
                        to attend school as long as the            tearing apart, cracking, burning or bulging of
                       student has been there at any               a steam or hot water heating system, an air
                        time during the 60 days                    conditioning or automatic fire protective
                        immediately before the loss.               sprinkler system, or an appliance for heating
     10. Falling  Objects                                          water.
         This peril does not include loss to property              We do not cover loss caused by resulting




                                                                                                     or
         contained in a building unless the roof or an             from freezing under this peril.
         outside wall of the building is first damaged         14. Freezing
         by a falling object. Damage io the falling
                                                                   a. This peril means freezing of a plumbing,
         object itself is not included.
                                                                      heating, air conditioning or automatic
     11. Weight Of Ice, Snow Or Sleet                                 fire protective sprinkler system or of a
         This peril means weight of ice, snow or sleet                household appliance but only if you
         which causes damage to property contained                    have used reasonable care to:
         in a building.                                               1) Maintain heat in the building; or
     12. Accidental Discharge Dr Qverflow Of                          2) Shut off the water supply and drain
         Water Or Steam                                                    all systems and       appliances of
         a. This peril means accidental discharge or                       water.
              overflow of water or steam from within a                However, if the building is protected by
              plumbing, heating, air conditioning or                  an automatic fire protective sprinkler
              automatic fire protective sprinkler                     system, you must use reasonable care
              system or from within a household                       to continue the water supply and
              appliance.                                              maintain heat in the building for
         b. This peril does not include loss:                         coverage to apply.
              1) To the system or appliance from                   b. In this peril, a plumbing system or
                  which the water or steam escaped;                   household appliance does not include a
              2) Caused by or resulting from freezing                 sump, sump pump or related equipment
                  except as provided in Peril Insured                 or a roof drain, gutter, downspout or
                  Against 14. Freezing;                               similar fixtures or equipment.


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     15. Sudden And Accidental Damage From                            fixtures, computers, home entertainment
         Artificially Generated Electrical Current                    units or other types of electronic apparatus.
         This peril does not include loss to tubes,               16. Volcanic Eruption
         transistors, electronic components or                        This peril does not include loss caused by
         circuitry that are a part of appliances,                     earthquake, land shock waves or tremors.
                                               SECTION 1 -EXCLUSIONS
 A. We do not insure for Toss caused directly or                   b. Landslide, mudslide, or mudflow;
    indirectly by any of the following. Such loss is               c. Subsidence or sinkhole; or
    excluded regardless of any other cause or event
                                                                   d. Any other earth movement including
    contributing concurrently or in any sequence to                     earth sinking, rising or shifting;
    the loss. These exclusions apply whether or not
    the loss event results in widespread damage or                 caused by or resulting from human or
    affects a substantial area.                                    animal forces or any act of nature unless
                                                                   direct loss by fire or explosion ensues and
    1. Ordinance Or Law                                            then we will pay only for the damage caused
         Ordinance or Law means any ordinance or                   by the ensuing cause of loss.
         law:
                                                                   This Exclusion 2. does not apply to loss by
         a. Requiring or regulating the construction,              theft.
              demolition, remodeling, renovation or
                                                                3. Water Damage
              repair of property, including removal of
              any resulting debris. This Exclusion                 Water Damage means:
              A.1.a. does not apply to the amount of               a. Flood, surface water, waves, tidal water,
              coverage that may be provided for in                      overflow of a body of water, or spray
              E.11. Ordinance Or Law under                              from any of these, whether or not driven
              SECTION          1     -      PROPERTY                    by wind;
              COVERAGES;                                           b. Water or water-borne material which
         b. The requirements of which result in a                       backs up through sewers or drains or
              loss in value to property; or                             which overflows or is discharged from a
         c. Requiring any "insured" or others to test                   sump,   sump pump or related equipment;
              for, monitor, clean up, remove, contain,                  or
              treat, detoxify or neutralize, or in any             c. Water or water-borne material below the
              way respond to, or assess the effects of,                 surface of the ground, including water
              pollutants.                                               which exerts pressure on or seeps or
              "Pollutants" means any solid, liquid,                     leaks through a building, sidewalk,
              gaseous      or    thermal    irritant   or               driveway, foundation, swimming pool or
              contaminant, including smoke, vapor,                      other structure;
              soot, fumes, acids, alkalis, chemicals               caused by or resulting from human or
              and waste. Chemicals include, but are                animal forces or any act of nature.
              not limited to, petroleum, petroleum                 Direct loss by fire, explosion or theft
              derivatives, petroleum synthetics and                resulting from water damage is covered.
              farm chemicals.         Waste      includes
                                                                4. Power Failure
              materials to be recycled, reconditioned
              or reclaimed.                                        Power Failure means the failure of power or
                                                                   other utility service if the failure takes place
         This Exclusion 1. applies whether or not the              off the "residence premises". But if the
         property has been physically damaged, or                  failure of power or other utility service
         even if the irritant or contaminant has a                 results in a loss, from a Peril Insured
         function with respect to your property or                 Against on the "residence premises", we will
         "business".
                                                                   pay for the loss or damage caused by that
 2. Earth Movement                                                 peril.
         Earth Movement means:                                  5. Neglect
         a. Earthquake, including land shock waves                 Neglect means neglect of an "insured" to
              or tremors before, during or after a                 use all reasonable means to save and
              volcanic eruption;

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        preserve property at and after the time of a          B. We do not insure for Ioss to property described
        loss.                                                    in Coverages A and B caused by any of the
     6. War                                                      following. However, any ensuing loss to property
        War includes the following and any                       described in Coverages A and B not excluded
        consequence of any of the following:                     or
        a. Undeclared war, civil war, insurrection,              excepted in this policy is covered.
             rebellion or revolution;                            1. Weather conditions. However, this exclusion
        b. Warlike act by a military force or military                only applies if weather conditions contribute
             personnel; or                                            in any way with a cause or event excluded
                                                                      in A. above to produce the loss.
        c. Destruction, seizure or use for a military
             purpose.                                            2. Acts or decisions, including the failure to act
                                                                      or decide, of any person, group,
        Discharge of a nuclear weapon will be                         organization or governmental body;
        deemed a warlike act even if accidental.
                                                                 3. Faulty, inadequate or defective:
     7. Nuclear Hazard
                                                                          a. Planning, zoning, development,
        This Exclusion 7. pertains to Nuclear Hazard                          surveying, siting;
        io the extent set forth in M. Nuclear Hazard
        Clause under SECTION 1 -CONDITIONS.                               b. Design,                  specifications,
                                                                              workmanship, repair, construction,
     8. Intentional Loss                                                      renovation, remodeling, grading,
        Intentional Loss means any loss arising out                           compaction;
        of any act an "insured" commits or conspires                      c. Materials        used     in     repair,
        to commit with the intent to cause a loss.                            construction,       renovation       or
        In the event of such loss, no "insured" is                            remodeling; or
        entitled to coverage, even "insureds" who                         d. Maintenance;
        did not commit or conspire to commit the act
        causing the loss.                                                 of part or all of any property whether on
                                                                          or off the "residence premises".
                                               SECTION I -CONDITIONS
  A. Insurable Interest and Limit of Liability                  4. Protect the property from further damage. If
     Even if more than one person has       an insurable           repairs to the property are required, you
     interest in the property covered, we will not be              must:
     liable in any one loss:                                       a. Make reasonable and necessary repairs
     1. To an    "insured" for more than  the amount  of               to protect the property; and
          such "insured's" interest at the time of loss;           b. Keep an accurate record of repair
          or                                                           expenses;
     2. For more than the applicable limit of liability.        5. Cooperate with us in the investigation of a
  B. Duties After Loss                                             claim;
     In case of a loss to covered property, these               6. Prepare an inventory of damaged personal
     duties must be performed either by you, an                    property showing the quantity, description,
     "insured" seeking coverage, or a representative               "actual  cash value" and amount of loss.
     of either:                                                    Attach all bills, receipts and related
                                                                   documents that justify the figures in the
     1. Give prompt notice to us or our agent;                     inventory;
     2. Notify the police in case of Ioss by theft;             ~, As often as we reasonable require:
     3. Notify the credit card or electronic fund                  a. Show the damaged property;
          transfer card or access device company in
          case of loss as provided for in E.6. Credit              b. Provide us with records and documents
          Card, Electronic Fund Transfer Card or                       we request and permit us to make
          Access Device, Forgery And Counterfeit                       copies; and
          Money under SECTION I - PROPERTY                         c. Submit to examination under oath, while
          COVERAGES;                                                   not in the presence of any other
                                                                       "insured", and sign the same;

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     8. Send to us, within 60 days after our request,                      2) The replacement cost of that part of
        your signed, sworn proof of loss which sets                             the building damaged for like
        forth, to the best of your knowledge and                                construction and use on the same
        belief:                                                                 premises; or
        a. The time and cause of loss;                                     3) The necessary amount actually
        b. The interests of the "insureds" and all                              spent to repair or replace the
             others in the property involved and all                            damaged building.
             liens on the property;                                    b. We will pay no more than the "actual
        c. Other insurance which may cover the                             cash value" of the damage until actual
             loss;                                                         repair or replacement is complete,
                                                                           unless the cost to repair or replace the
        d. Changes in title or occupancy of the                            damage is both:
             property during the term of the policy;
                                                                           1) Less than 5% of the amount of
        e. Specifications of damaged buildings and                              insurance in this policy on the
             detailed repair estimates;                                         building; and
        f. The inventory of damaged personal                               2} Less than $1,000
             property described in 6. above;
                                                                       c. If you receive a settlement under this
        g. Receipts for additional living expenses                         policy for loss or damage to buildings on
             incurred and records that support the                         an "actual cash value" basis, you may
             fair rental value loss; and                                   then make an additional claim for
        h. Evidence or affidavit that supports a                           payment on a replacement cost basis
             claim under E.6. Credit Card, Electronic                      provided:
             Fund Transfer Card Or Access Device,                          1) Repair or replacement is completed
             Forgery and Counterfeit Money under
             SECTION          1      -      PROPERTY                            within 1 year of the date of the loss,
             COVERAGES, stating the amount and                                  unless you request in writing that
             cause of loss.                                                     this time limit be extended for an
  C. Loss Settlement                                                            additional 180 days; and
     Covered property losses are settled as follows:                       2) Repair or replacement is evidenced
     1. Property of the following types:                                        by the original of the replacement
                                                                                receipt, invoice or bill; and
        a. Personal property;
                                              household                    3) You have not reached the
        b. Awnings,          carpeting,
                                                                                applicable limit of liability under this
             appliances, outdoor antennas and
                                                                                policy.
             outdoor equipment, whether or not
             attached to buildings; and                        D. Loss to a Pair or Set
        c. Structures that are not buildings; and                 In case of loss to a pair or set we may elect to:
        d. Grave markers, including mausoleums;                   1. Repair or replace any part to restore the pair
                                                                       or set to its value before the loss; or
             at "actual cash value" at the time of loss
             but not more than the amount required                2. Pay the difference between "actual cash
             io repair or replace.                                     value" of the property before and after the
                                                                       loss.
     2. Buildings under Coverage A or B at
        replacement cost without deduction for                 E. Appraisal
        depreciation, subject to the following:                   If you and we fail io agree on the amount of loss,
        a. We will pay the cost to repair or replace,             either may demand an appraisal of the loss. In
             after application of deductible and                  this event, each party will choose a competent
             without deduction for depreciation, but              and impartial appraiser within 20 days after
             not more than the least of the following             receiving a written request from the other. The
             amounts:                                             two appraisers will choose an umpire. If they
                                                                  cannot agree upon an umpire within 15 days,
             1) The limit of liability under this policy
                                                                  you or we may request that the choice be made
                  that applies to the building;
                                                                  by a judge of a court of record in the state where
                                                                  the "residence premises" is located. The

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     appraisers will separately set the amount of                     covered real or personal property, unless you
     loss. If the appraisers submit a written report of               furnish us with proof that the prior damage has
     an agreement to us, the amount agreed upon                       been repaired.
     will be the amount of loss. If they fail to agree,            J. Abandonment of Property
     they will submit their differences to the umpire. A
                                                                      We need not accept any property abandoned by
     decision agreed to by any two will set the
                                                                      an "insured".
     amount of loss.
                                                                   K. Mortgage Clause
     Each party will:
                                                                      The word "mortgagee" includes trustee.
     1. Pay its own appraiser; and
                                                                      1. If a mortgagee is named in this policy, any
     2. Bear the other expenses of the appraisal
                                                                          loss payable under Coverage A or B will be
          and umpire equally.
                                                                          paid to the mortgagee and you, as interests
  F. Other Insurance and Service Agreement                                appear. If more than one mortgagee is
     If a loss covered by this policy is also covered                     named, the order of payment will be the
     by:                                                                  same as the order of precedence of the
     1. Other insurance, we will pay only the                             mortgages.
          proportion of the loss that the limit of liability          2. If we deny your claim, that denial will not
          that applies under this policy bears io the                     apply io a valid claim of the mortgagee, if
          total amount of insurance covering the loss;                    the mortgagee:
          or                                                              a. Notifies us of any change in ownership,
     2. A service agreement, this insurance is                                 occupancy or substantial change in risk
          excess over any amounts payable under                                of which the mortgagee is aware;
          any such agreement. Service agreement                           b. Pays any premium due under this policy
          means a service plan, properly restoration                           on demand if you have neglected to pay
          plan, home warranty or other similar service                         the premium; and
          warranty agreement, even if it is
                                                                          c. Submits a signed, sworn statement of
          characterized as insurance.
                                                                               loss within 60 days after receiving notice
  G. Suit Against Us                                                           from us of your failure to do so. E.
     No action can be brought unless there has been                            Appraisal, G. Suit Against Us and I.
     full compliance with all of the terms under                               Loss Payment under SECTION I -
     Section I of this policy and the action is started                        CONDITIONS also apply to the
     within one year after the date of loss.                                   mortgagee.
  H. Our Option                                                       3. If we decide to cancel or not to renew this
     If we give you written notice within 15 working                       policy, the mortgagee will be notified at least
     days after we receive your signed, sworn proof                        10 days before the date cancellation or
     of loss, we may repair or replace any part of the                     nonrenewal takes effect.
     damaged property with material or property of                    4. If we pay the mortgagee for any loss and
     like kind and quality.                                               deny payment to you:
  I. Loss Payment                                                          a. We are subrogated to all the rights of
     We will adjust all losses with you. We will pay                            the mortgagee granted under the
     you unless some other person is named in the                               mortgage on the property; or
     policy or is legally entitled to receive payment.                     b. At our option, we may pay to the
     Loss will be payable 60 days after we receive                              mortgagee the whole principal on the
     your proof of loss and:                                                    mortgage plus any accrued interest. In
     1. Reach an agreement with you;                                            this event, we will receive a full
                                                                               assignment and transfer of the
     2. There is an entry of a final judgment; or
                                                                                mortgage and all securities held as
     3. There is a filing of an appraisal award with                           collateral to the mortgage debt.
          us.
                                                                      5. Subrogation will not impair the right of the
     If we have paid a loss for damage to your real or                     mortgagee io recover the full amount of the
     personal property, we will take appropriate                           mortgagee's claim.
     deduction from any payment due for any
     subsequent loss for damage to the same                        L. No Benefit to Bailee

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                                                                                                           HO 3 (OS-01)
       We will not recognize any assignment or grant                the amount you received for the recovered
       any coverage that benefits a person or                       property.
       organization holding, storing or moving property          p, Volcanic Eruption Period
       for a fee regardless of any other provision of this
                                                                    One or more volcanic eruptions that occur within
       policy.                                                      a 72-hour period will be considered as one
 M.    Nuclear Hazard Clause                                        volcanic eruption.
       1. "Nuclear Hazard" means any nuclear                     p, policy Period
             reaction,       radiation,    or     radioactive
                                                                    This policy applies only to loss which occurs
             contamination, all whether controlled or               during the policy period.
             uncontrolled or however caused, or any
             consequence of any of these.                        Q. Concealment Or Fraud
       2. Loss caused by the nuclear hazard will not                We provide coverage to no "insureds" under this
             be considered           loss caused by fire,           policy if, whether before or after a loss, an
             explosion, or smoke, whether these perils              "insured" has:
             are specifically named in or otherwise                 1. Intentionally concealed or misrepresented
             included within the Perils Insured Against in               any material fact or circumstance;
             Section I.                                             2. Engaged in fraudulent conduct; or
       3. This policy does not apply under Section                  3. Made false statements;
             to
                                                                    relating to this insurance.
             loss caused directly or indirectly by nuclear
                                                                 R. Inflation  Protection
             hazard, except that direct loss by fire
             resulting from the nuclear            hazard is        The   company     may increase the limits of liability
             covered.                                               for Coverages      A, B and C at the beginning of
                                                                    each policy period, based upon reports of
  N.   Recovered Property
                                                                    recognized appraisal agencies, reflecting
       If you or we recover any property for which we               changes in cost of construction. Payment of the
       have made payment under this policy, you or we               continuation premium will constitute the
       will notify the other of the recovery. At your               insured's acceptance of the revised limit of
       option, the property will be returned or retained            liability as shown on the Homeowners
       by you or it will become our property. If the                Continuation                           Declarations.
       recovered property is returned to or retained by
       you the loss payment will be adjusted based on
                                             SECTION II —LIABILITY COVERAGES
  A.   COVERAGE E -Personal Liability                               We will pay the necessary medical expenses
       If a claim is made or a suit is    brought  against  an      that are incurred or medically ascertained within
       "insured" for damages because of "bodily injury"             three years from the date of an accident causing
       or "property damage" caused by an                            "bodily     injury". Medical expenses means
       "occurrence" to which this coverage applies,        we       reasonable     charges for medical, surgical, x-ray,
       will:                                                        dental, ambulance, hospital, professional
                                                                    nursing and prosthetic devices.              Medical
       1. Pay up io our limit of liability for the
             damages     for   which  an "insured"  is  legally     expenses      do  not include  expenses  for  funeral
                                                                    services.     This  coverage  does not apply   to you
             liable; and
                                                                    or regular residents of your household except
       2. Provide a defense at our expense by                       "residence employees". As to others, this
             counsel of our choice, even if the suit is             coverage applies only:
             groundless, false or fraudulent. We may
             investigate and settle any claim or suit that          1. To a person on the "insured location" with
             we   decide  is  appropriate. Our duty   to settle          the permission of an "insured"; or
             or defend ends when the amount we pay for              2. To a person off the "insured location", if the
             damages resulting from the "occurrence"                     "bodily injury":
             has been exhausted by payment of a                          a. Arises out of a condition on the "insured
             judgment or settlement.                                          location" or the ways immediately
  B.   COVERAGE F -Medical Payments To Others                                adjoining;


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       b. Is caused by the activities of an                       d. Is caused by an animal owned by or in
           "insured";                                                 the care of "insured".
       c. Is caused by a "residence employee" in
           the     course     of    the      "residence
           employee's"      employment         by     an
           "insured": or
                                             SECTION II —EXCLUSIONS
                                                                      manufacture to exceed a speed of 25
                                                                      miles per hour on level ground and, at
                                                                      the time of an "occurrence", is within the
 A. "Motor Vehicle Liability"                                         legal boundaries of:
    1. Coverages E and F        do  not  apply   to  any              1) A golfing facility and is parked or
       "motor vehicle liability" if, at the time and                      stored there, or being used by an
       place of an "occurrence":                                          "insured" to:
       a. A law, or regulation issued by a                                a) Play the game of golf or for
           government agency, requires the                                     other recreational or leisure
           involved "motor vehicle" to have been                               activity allowed by the facility;
           registered for it to be used on public                         b) Travel to or from an area where
           roads or property; or                                               "motor vehicle" or golf carts are
       b. The involved "motor vehicle" is being:                               parked or stored; or
           1) Operated in, or practicing for, any                         c) Cross         public    roads        at
                prearranged or organized race,                                  designated points to access
                speed contest or other competition;                             other parts of the golfing facility;
           2) Rented to others;                                                 or
           3) Used to carry persons or cargo for a                    2) A private residential community,
                charge; or                                                 including its public roads upon
                                                                           which   a motorized golf cart can
            4) Used for any "business" purpose
                                                                           legally travel, which is subject to the
                except for a motorized golf cart
                                                                           authority of a property owners
                while on a golfing facility.                                                                     an
                                                                          association and contains
    2. If Exclusion A.1. does not apply, there is still                   "insured's" residence.
       no coverage for "motor vehicle liability"
                                                            B. "Watercraft Liability"
       unless the "motor vehicle" is:
                                                               1. Coverages E and F do not apply to any
       a. In dead storage on an "insured
                                                                  "watercraft liability" if, ai the time of an
            location";
                                                                  "occurrence", the involved watercraft is
       b. Used solely to service an "insured's"                   being:
            residence;
                                                                  a. Operated in, or practicing for, any
       c. Designed to assist the handicapped                           prearranged or organized race, speed
            and, at the time of an "occurrence", it is:               contest or other competition. This
            1) Being used to assist a handicapped                     exclusion does not apply to a sailing
                person; or                                             vessel or a predicted log cruise;
            2) Parked on an "insured location";                   b. Rented to others;
       d. Designed for recreational use off public                c. Used to carry persons or cargo for a
            roads and:                                                 charge; or
            1) Not owned by an "insured"; or                      d. Used for any "business" purpose.
            2) Owned by an "insured" provided the              2. If Exclusion B.1. does not apply, there is still
                "occurrence" takes place on an                    no coverage for "watercraft liability" unless,
                "insured location" as defined in                  at the time of the "occurrence", the
                Definitions B.6.a., b., d., e. or h.; or          watercraft:
       e. A motorized golf cart that is owned by                  a. Is stored;
            an "insured", designed to carry up to 4
            persons, not built or modified after
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                                                                                                         HO 3 (05-01)
         b. Is a sailing vessel, with or without                 E. COVERAGE E -Personal Liability and
             auxiliary power that is:                               COVERAGE F -Medical Payments to Others
             1) Less than 26 feet in overall length;                Coverages E and F do not apply to the following:
                  or                                                1. Expected or Intended Injury
             2J 26 feet or more in overall length and                  "Bodily Injury" or "property damage" which is
                  not owned by or rented to an                         expected or intended by an "insured" even if
                  "insured"; or                                        the resulting "bodily injury" or "property
         c. Is not a sailing vessel and is powered                     damage":
              bY~                                                      a. Is of a different kind, quality or degree
             1) An inboard or inboard-outdrive                             than initially expected or intended; or
                  engine or motor, including those                     b. Is sustained by a different person, entity,
                  that power a water jet pump, of:                         real or personal property, than initially
                  a) 50 horsepower or less and not                         expected or intended.
                      owned by an "insured"; or                     2, "Business"
                  b) More than 50 horsepower and                       a. "Bodily injury" or "property damage"
                       not owned by or rented io an                        arising out of or in connection with a
                      "insured"; or                                        "business" conducted from an "insured
             2) One or more outboard engines or                            location" or engaged in by an "insured",
                  motors with:                                             whether or not the "business" is owned
                  a) 25 total horsepower or less;                          or operated by an "insured" or employs
                                                                           an "insured".
                  b) More than 25 horsepower if the
                      outboard engine or motor is not                      This Exclusion E.2. applies but is not
                      owned by an "insured";                               limited to an act or omission, regardless
                                                                           of its nature or circumstance, involving a
                  c) More than 25 horsepower if the                        service or duty rendered, promised,
                      outboard engine,~, or motor  ~~   is                 owed, or implied to be provided because
                      owned by an insured who                              of the nature of the "business".
                      acquired it during the policy
                       period; or                                      b. This Exclusion E.2. does not apply to:
                  d) More than 25 horsepower if the                        1) The rental or holding for rental of an
                      outboard engine or motor is                               "insured location";
                      owned by an "insured" who                                 a) On an occasional basis if used
                      acquired it before the policy                                  only as a residence;
                       period, but only if:                                     b) In part for use only as a
                      i} You declare them at policy                                  residence, unless a single
                           inception; or                                             family unit is intended for use by
                      ii) Your intent io insure them is                              the occupying family to lodge
                           reported to us in writing                                 more than two roomers or
                           within 45 days after you                                  boarders; or
                           acquire them.                                        c) In part, as an office, school,
                      The coverages in c) and d)                                     studio or private garage; and
                      above apply for the policy                           2)   An   "insured"  under the age of 21
                       period.                                                  years involved in a part-time or
                  Horsepower means the maximum                                  occasional,              self-employed
                  power rating assigned to the engine                           "business" with no employees;
                  or motor by the manufacturer                      3. Professional Services
  C. "Aircraft Liability"                                              "Bodily injury" or "property damage" arising
     This policy does not cover "aircraft liability".                  out of the rendering of or failure to render
                                                                       "professional services";
  D. "Hovercraft Liability"
                                                                    4. "Insured's" Premises Not An "Insured
     This policy does not cover "hovercraft liability".                Location"


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         "Bodily injury" or "property damage" arising                  "personal injury" which would not have
         out of a premise:                                             occurred in whole or in part but for the
         a. Owned by an "insured";                                     actual, alleged or threatened discharge,
                                                                       dispersal, seepage, migration, release
         b. Rented to an "insured"; or                                 or escape of "pollutants" at any time.
         c. Rented to others by an "insured";                          This exclusion does not apply to "bodily
         that is not an "insured location";                            injury" sustained within a building and
     5. War                                                            caused by smoke, fumes, vapor or soot
                                                                       from equipment used to heat that
        "Bodily injury" or "property damage" caused
                                                                       building.
        directly or indirectly by war, including the
        following and any consequence of any of the               b. Any loss, cost or expense arising out of
        following:                                                     any:
        a. Undeclared war, civil war, insurrection,                    1) Request, demand or order that any
             rebellion or revoluiion;                                       insured or others test for, monitor,
                                                                            clean up, remove, contain, treat,
        b. Warlike act by a military force or military
             personnel; or                                                  detoxify or neutralize, or in any way
                                                                            respond to, or assess the effects of
        c. Destruction, seizure or use for a military                       "pollutants"; or
             purpose.
                                                                       2) Claim or suit by or on behalf of a
        Discharge of a nuclear weapon will be                               governmental authority for damages
        deemed a warlike act even if accidental;                            because of testing for, monitoring,
     6. Communicable Disease                                                cleaning up, removing, containing,
        "Bodily injury" or "property damage" which                          treating, detoxifying or neutralizing,
        arises out of the transmission of a                                 or in any way responding to, or
        communicable disease by an "insured";                               assessing      the    effects       of
                                                                            "pollutants".
     7. Sexual          Molestation,        Corporal
        Punishment Or Physical Or Mental Abuse                    "Pollutants" means any solid, liquid,
                                                                  gaseous, or thermal irritant or contaminant
        "Bodily injury" or "property damage" arising
                                                                  including smoke, vapor, soot, fumes, acid,
        out of any:                                               alkalis, chemicals and waste. Chemicals
        a. sexual activity or conduct,                            include, but are not limited to, petroleum,
        b. corporal punishment, or                                petroleum derivatives, petroleum synthetics
        c. physical or mental abuse.                              and farm chemicals. Waste includes
                                                                  material to be recycled, reconditioned or
        This exclusion applies whether or not any                 reclaimed.
        acts were intentional or unintentional and
        whether or not the acts were in violation of              This exclusion does not apply to "bodily
        any criminal or penal code or statute.                    injury", "property damage", or where added
                                                                  by endorsement, "personal injury" arising
     8. Controlled Substance                                      out of heat, smoke or fumes from a hostile
        "Bodily injury" or "property damage" arising              fire on your premises.
        out of the use, sale, manufacture, delivery,              As used in this exclusion, a hostile fire
        transfer or possession by any person of a                 means one which becomes uncontrollable
        Controlled Substance as defined by the                    or breaks out from where ii was intended to
        Federal Food and Drug Law at 21 U.S.C.A.                  be.
        Sections 811 and 812. Controlled
        Substances include but are not limited to                 We will not have a duty to defend any
        cocaine, LSD, marijuana and all narcotic                  "insured" against a claim or suit seeking
        drugs. However, this exclusion does not                   damages to which this insurance does not
        apply to the legitimate use of prescription               apply.
        drugs by a person following the orders of a           10. Environmental Exposures
        licensed physician.                                       "Bodily injury", "property damage", or where
     9. Pollution                                                 added by endorsement, "personal injury"
        a. "Bodily injury", "property damage", or                 arising out of:
             where      added      by  endorsement,

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                                                                                                   HO 3 (OS-01)
        a. Asbestos or any asbestos-related injury                     1) That directly relate to the ownership,
            or damage including, but not limited to,                        maintenance or use of an "insured
            any injury or damage arising out of or                          location"; or
            alleged to have arisen out of any act,                     2) Where the liability of others is
            error, omission, failure to warn or other                       assumed by you prior to an
            duty involving asbestos, its use,                               "occurrence";
            exposure, existence, detection, removal,
                                                                       unless excluded in a. above or
            elimination or avoidance or actions                        elsewhere in this policy;
            arising from a failure to disclose the
            presence of asbestos;                             2.   "Property damage" to property owned by an
                                                                   "insured". This includes costs or expenses
        b. Electromagnetic emissions or radiation-
                                                                   incurred by an "insured" or others to repair,
            related injury or damage including, but
                                                                   replace, enhance, restore or maintain such
            not limited to, any injury or damage
                                                                   property to prevent injury to       person or
            arising out of or alleged to have arisen




                                                                                                   a
                                                                   damage to property of others, whether on or
            out of any act, error, omission, failure to
                                                                   away from an "insured location";
            warn or other duty involving any
            electromagnetic emissions or radiation            3.   "Property damage" to property rented to,
            for use, exposure, existence, detection,               occupied or used by or in the care of the
            removal, elimination or avoidance or                   "insured". This exclusion does not apply to
            electrical energy;                                     "property damage" caused by fire, smoke or
                                                                   explosion;
        c. Lead or any lead-related injury or
            damage including, but not limited to, any         4.   "Bodily injury" to any person eligible to
            injury or damage arising out of or                     receive any benefits voluntarily provided or
            alleged to have arisen out of any act,                 required to be provided by an "insured"
            error, omission, failure to warn, or other             under any:
            duty involving lead products, their use,               a. Workers' compensation law;
            exposure, existence, detection, removal,               b. Non-occupational disability law; or
            elimination or avoidance; or
                                                                   c. Occupational disease law;
        d. Radon or any other radioactive
            emissions, manmade or natural, or any             5.   "Bodily injury" or "property damage" for
            related injury or damage including, but                which an "insured" under this policy:
            not limited to, any injury or damage                   a. Is also an insured under a nuclear
            arising out of or alleged to have arisen                   energy liability policy issued by the:
            out of any act, omission, failure to warn                  1) Nuclear Energy Liability Insurance
            or other duty involving radon or any                            Association;
            other radioactive emissions, their use,
                                                                       2) Mutual Atomic Energy Liability
            exposure, existence, detection, removal,
                                                                             Underwriters;
            elimination or avoidance.
                                                                       3) Nuclear Insurance Association of
  F. COVERAGE E -Personal Liability
                                                                             Canada;
     Coverage E does not apply to:
                                                                       or any of their successors; or
     1. Liability:
                                                                   b. Would be an insured under such a
        a. For any loss assessment charged                             policy but for the exhaustion of its limit
            against you as a member of an                              of liability; or
            association, corporation or community of
                                                              6.   "Bodily injury" to you or an "insured" within
            property owners; except as provided in
                                                                   the meaning of Definition 5. "Insured"
            D. Loss Assessment under SECTION II
                                                                   paragraphs a. or b.
            -ADDITIONAL COVERAGES;
                                                                   This exclusion also applies to any claim
        b. Under any contract or agreement                         made or suit brought against you or an
            entered into by an "insured". However,                 "insured":
            this exclusion does not apply to written
            contracts:                                             a. To repay; or
                                                                   b. Share damages with;


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            another person who may be obligated to pay                a. Workers' compensation law;
            damages because of "bodily injury" io an                  b. Non-occupational disability law; or
            "insured".
                                                                      c. Occupational disease law;
 G. COVERAGE F -Medical Payments To Others
                                                                  3. From any:
      Coverage F does not apply to bodily injury
                                                                      a. Nuclear reaction;
      1. To a "residence employee" if the bodily
                                                                      b. Nuclear radiation; or
            injury":
                                                                      a• Radioactive contamination;
            a. Occurs off the "insured location"; and
                                                                      all whether controlled or uncontrolled or
            b. Does not arise out of or in the course of
                                                                      however caused; or
                 the "residence employee's" employment
                 by an "insured";                                     d. Any consequence of any of these; or
      2. To any person eligible to receive benefits                4. To any person, other than a "residence
            voluntarily provided or required to be                    employee" of an "insured", regularly residing
            provided under any:                                       on any part of the "insured location".
                                           SECTION II —ADDITIONAL COVERAGES
                                                                      damage" to property of others caused by an
 We cover the following in addition to the limit of                   "insured".
 liability:
                                                                   2. We will not pay for "property damage":
 A. Claim Expenses
                                                                      a. To the extent of any amount recoverable
      We pay:                                                             under Section I;
      1. Expenses we incur and costs taxed against                    b. Caused intentionally by an "insured"
            an "insured" in any suit we defend;                           who is 13 years of age or older;
      2. Premiums on bonds required in a suit we                      c. To property owned by an "insured";
            defend, but not for bond amounts more than
            the Coverage E limit of liability. We need not            d. To property owned by or rented to a
            apply for or furnish any bond;                                tenant of an "insured" or a resident in
                                                                          your household; or
      3. Reasonable expenses incurred by an
            "insured" at our request, including actual                e. Arising out of:
            loss of earnings (but not loss of other                       1) A "business" engaged in by an
            income) up to $250 per day, for assisting us                      "insured";
            in the investigation or defense of a claim or                 2} Any act or omission in connection
            suit; and                                                         with a premises owned, rented or
      4. Interest on the entire judgment which                                controlled by an "insured", other
            accrues after entry of the judgment and                           than the "insured location"; or
            before we pay or tender, or deposit in court                  3) The        ownership,    maintenance,
            that part of the judgment which does not                          occupancy, operation, use, loading
            exceed the limit of liability that applies.                       or unloading of aircraft, watercraft or
      5. Prejudgment interest awarded against an                              "motor vehicles".
            "insured" on that part of the judgment we                         This exclusion e.3) does not apply
            pay. Any prejudgment interest awarded                             to a "motor vehicle" that:
            against an "insured" is subject to the
                                                                              a) Is designed for recreational use
            applicable Pennsylvania Rules of Civil
                                                                                   off public roads;
             Procedure.
                                                                              b) Is not owned by an "insured";
 B. First Aid Expenses
                                                                                   and
      We will pay expenses for first aid to others
                                                                              c) At the time and place of an
      incurred by an "insured" for "bodily injury"
                                                                                   "occurrence", is not required by
      covered under this policy. We will not pay for
                                                                                   law, or regulation issued by a
      first aid to an "insured".
                                                                                   government agency, to have
 C. Damage to Property of Others                                                   been registered for it to be used
      1. We will pay, at replacement cost, up to                                   on public roads or property.
            $1000 per "occurrence" for "property               D. Loss Assessment.

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                                                                                                      HO 3 (OS-01)
     1. We will pay up to $1400 for your share of                 2. Paragraph I. Policy Period under SECTION
          loss assessment charged during the policy                  II -CONDITIONS does not apply to this
          period against you, as owner or tenant of                  Loss Assessment Coverage.
          the "residence premises", during the policy             3. Regardless of the number of assessments,
          period by a corporation or association of                  the limit of $1004 is the most we will pay for
          property owners, when the assessment is                    loss arising out of:
          made as a result of:
                                                                     a. One accident, including continuous or
          a. "Bodily injury" or "property damage" not                     repealed exposure to substantially the
                excluded       from     coverage     under                same general harmful condition; or
                SECTION 11 -EXCLUSIONS; or
                                                                     b. A covered act of a director, officer or
          b. Liability for an act of a director, officer or               trustee. An act involving more than one
                irustee in the capacity as a director,                    director, officer or trustee is considered
                officer or trustee, provided such person:                 to be a single act.
                1) Is elected by the members of a                 4. We do not cover assessments charged
                     corporation or association of                   against you or a corporation or association
                     property owners; and                            of property owners by any governmental
                2) Serves without deriving any income                body.
                     from the exercise of duties which
                     are solely on behalf of a corporation
                     or association of property owners.
                                                SECTION II -CONDITIONS
  A. Limit of Liability                                              b. Reasonably available information on the
     Our total liability under Coverage E for all                         time, place and circumstances of
     damages resulting from any one "occurrence"                          "occurrence"; and
     will not be more than the Coverage E limit of                   c. Names and addresses of any claimants
     liability shown in the Declarations. This limit is                   and witnesses;
     the same regardless of the number of                         2, Cooperate with us in the investigation,
     "insureds", claims made or persons injured. All                 settlement or defense of any claim or suit;
     "bodily injury" and "property damage" resulting
                                                                  3. Promptly forward to us every notice,
     from any one accident or from continuous or
                                                                     demand, summons or other process relating
     repeated exposure to substantially the same
                                                                     to the "occurrence";
     general harmful conditions shall be considered
     to be the result of one "occurrence".                        4. At our request, help us:
     Our total liability under Coverage F for all                    a. To make settlement;
     medical expense payable for "bodily injury" to                  b. To enforce any right of contribution or
     one person as the result of one accident will not                    indemnity against any person or
     be more than the Coverage F limit of liability                       organization who may be liable to an
     shown in the Declarations.                                           "insured'
                                                                                    ;
  B. Severability of Insurance                                       c. With the conduct of suits and attend
     This insurance applies separately to each                            hearings and trials; and
     "insured". This condition will not increase our                 d. To secure and give evidence and obtain
     limit of liability for any one "occurrence".                         the attendance of witnesses;
  C. Duties After Occurrence                                      5. With respect to C. Damage to Property of
     In case of an "occurrence," you or another                       Others under SECTION II -ADDITIONAL
     "insured" will perform the following duties that                 COVERAGE&, submit to us within 60 days
     apply. You will help us by seeing that these                    after the loss, a sworn statement of loss and
     duties are pertormed:                                           show the damaged property, if in the
                                                                     "insured's"  control;
     1. Give written notice to us or our agent as
          soon as is practical, which sets forth:                 6. No     "insured"    shall, except at such
                                                                     "insured's"    own    cost, voluntarily make
          a. The identity of the policy and "named
                insured" shown in the Declarations;                  payment,      assume      obligation or incur


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         expense other than for first aid to others at         3. Also, no action with respect to Coverage E
         the time of the "bodily injury".                           can be brought against us until the
  D. Duties Of An Injured Person - Coverage F -                     obligation of such "insured" has been
     Medical Payments To Others                                     determined by final judgment or agreement
                                                                    signed by us.
     1. The injured person or someone acting for
         the injured person will:                           G. Bankruptcy Of An Insured
         a. Give us written proof of claim, under              Bankruptcy or insolvency of an "insured" will not
             oath if required, as soon as is practical;        relieve us of our obligations under this policy.
             and                                            H. Otherinsurance
         b. Authorize us to obtain copies of medical           This insurance is excess over other valid and
             reports and records.                              collectible insurance except insurance written
     2. The injured person will submit to a physical           specifically to cover as excess over the limits of
         exam by a doctor of our choice when and as            liability that apply in this policy.
         often as we reasonably require.                    1. Policy Period
  E. Payment Of Claim - Coverage F -Medical                    This policy applies only to "bodily injury" or
     Payments To Others                                        "property damage" which occurs during the
     Payment under this coverage is not an                     policy period.
     admission of liability by an "insured" or us.          J. Concealment Or Fraud
  F. Suit Against Us                                           We do not provide coverage to an "insured"
     1. No action can be brought against us unless             who, whether before or after a loss, has:
         there has been full compliance with all of the        1. Intentionally concealed or misrepresented
         terms under this Section II.                               any material factor circumstance;
     2. No one will have the right to join us as a             2• Engaged in fraudulent conduct; or
         party to any action against an "insured".             3. Made false statements;
                                                               relating to this insurance.
                                         SECTIONS I AND 11 -CONDITIONS
  A. Liberalization Clause                                        1. You may cancel this policy at any time by
     If we make a change which broadens coverage                     returning it to us or by letting us know in
     under this edition of our policy without additional             writing of the date cancellation is to take
     premium charge, that change will automatically                  effect.
     apply to your insurance as of the date we                    2. We may cancel this policy only for the
     implement the change in your state, provided                    reasons stated below by letting the "named
     that this implementation date falls within 6D days              insured" know in writing of the date
     prior to or during the policy period stated in the              cancellation takes effect. This cancellation
     Declarations.                                                   notice may be delivered to the "named
     This Liberalization Clause does not apply to                    insured", or mailed to the "named insured" at
     changes implemented with a general program                      the "named insured'sT mailing address
     revision that includes both broadenings and                     shown in the Declarations. Proof of mailing
     restrictions in coverage, whether that general                  will be sufficient proof of notice.
     program revision is implemented through                         a. When this policy has been in effect for
     introduction of:                                                     less than 60 days and is not a renewal
     1. A subsequent edition of this policy; or                           with us, we may cancel for any reason
                                                                          by letting the "named insured" know at
     2. An amendatory endorsement.
                                                                          least 30 days before the date
  B. Waiver Or Change Of Policy Provisions                                cancellation takes effect.
     A waiver or change of a provision of this policy                b. When this policy has been in effect for
     must be in writing by us to be valid. Our request                    6Q days or more, or at any time if it is a
     for an appraisal or examination will not waive                       renewal with us, we may cancel:
     any of our rights.
                                                                          1) If this policy was obtained through
  C. Cancellation                                                             material            misrepresentation,
                                                                              fraudulent statements, omissions or

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                                                                                                         HO 3 (05-01)
                 concealment of fact material to the          E. Assignment
                 acceptance of the risk or to the                Assignment of this policy will not be valid unless
                 hazard assumed by us;                           we give our written consent.
             2) If there has been a substantial               F. Subrogation
                 change or increase in hazard in the
                                                                 An "insured" may waive in writing before a loss
                 risk assumed by us subsequent to                all rights of recovery against any person. If not
                 the date the policy was issued;                 waived, we may require an assignment of rights
             3) If there is a substantial increase in            of recovery for a loss to the extent that payment
                 hazard insured against by reason of             is made by us.
                 willful or negligent acts or omissions          If an assignment is sought, an "insured" must
                 by the "insured";                               sign and deliver all related papers and
             4) If the "insured" has failed to pay the           cooperate with us.
                 premium by the due date, whether                Subrogation does not apply to Coverage F or
                 payable io us or to our agent or                Paragraph C. Damage To Property Of Others
                 under any finance or credit plan; or            under        SECTION        11   -     ADDITIONAL
             5) For any other reason approved by                 COVERAGES.
                 the       Pennsylvania       Insurance
                                                              G. Death
                 Commissioner.
                                                                 If any person named in the Declarations or the
             This can be done by letting the "named              spouse, if a resident of the same household,
             insured" know at least 30 days before
                                                                 dies, the following apply:
             the date cancellation takes effect.
                                                                 1. We insure the legal representative of the
             This provision shall not apply if you have                deceased but only with respect to the
             demonstrated by some overt action to
                                                                       premises and property of the deceased
             us or to our agent that you wish the
                                                                       covered under the policy at the time of
             policy to be cancelled.                                   death; and
    3. When this policy is cancelled, the premium
                                                                 2. Insurance under this policy will continue as
        for the period from the date of cancellation
                                                                       provided in a. or b. below, whichever is
        to the expiration date will be refunded pro
                                                                       later:
        rata.
                                                                       a. For 180 days after your death regardless
    4. If the return premium is not refunded with
        the notice of cancellation or when this policy                     of the policy period shown in the
        is returned to us, we will refund it within a                      Declarations, unless your premises and
         reasonable time after the date cancellation                       property, covered under the policy at the
         takes effect.                                                     time of your death, is sold prior to that
                                                                           date; or
 D. Nonrenewal
                                                                       b. Until the end of the policy period shown in
    We will not fail to renew this policy except for
                                                                           the Declarations, unless your premises
    one of the reasons referred to in C.                                   and property, covered under the policy at
    Cancellation above. We may refuse to renew                             the time of your death, is sold prior to that
    for one of the listed reasons by delivering to the                     date.
    "named insured", or mailing to the "named
    insured" at the "named insureds" mailing                               Coverage during the period of time after
    address shown in the Declarations, written                             your death is subject to all the provisions
    notice at least 30 days before the expiration date                     of this policy including payment of any
    of this policy. Proof of mailing will be sufficient                    premium due for the policy period shown
    proof of notice.                                                       in the Declarations and any extension of
                                                                           that period.
    This provision does not apply if:
                                                                 3. "Insured" includes:
    1. We have indicated our willingness fo renew
                                                                       a. An "insured" who is a member of your
         and the "insured" has failed to pay the                             household at the time of your death, but
         premium by the due date; or                                         only while a resident of the "residence
    2. You have indicated to us or our agent that                            premises"; and
         you do not wish the policy to be renewed.

  HO 3 (05-01)                                                                                          Page 25 of 26
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  HO 3 (05-01)
         b. With respect to your property, the                       "insured", as the owner, for dwelling purposes
             person having proper temporary custody                  and not otherwise. This condition applies, at the
             of the property until appointment and                   time of loss, to COVERAGE A —Dwelling,
             qualification of a legal representative.                COVERAGE B — Other Structures and
  H. Dwelling                                                        COVERAGE C — Personal Property as
                                                                     provided         by        this         contract.
     We insure the dwelling, as described in the
     Declarations of this policy, only as the
     "residence premises", while occupied by the


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                                                                                                 HO 300PA (09-09)

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                 SPECIAL PROVISIONS -PENNSYLVANIA

 SECTION I —PROPERTY COVERAGES
 In Forms HO 3, and HO 5, item E.1.b. is deleted and               1) Your trees) felled by the peril of Windstorm
 replaced by the following:                                           or Hail or Weight of Ice, Snow or Sleet; or
 b. We will also pay the reasonable expense you                    2) A neighbor's trees) felled by a Peril Insured
    incur, up to $1000, for the removal from the                      Against underCoverage C;
    "residence premises" of:                                       provided:
     1) Your trees) felled by the peril of Windstorm                   a) The trees) damages) a covered
        or Hail or Weight of Ice, Snow or Sleet; or                       structure;
     2) A neighbor's trees) felled by a Peril Insured                  b) Windstorm or Hail or Weight of Ice,
        Against underCoverage C;                                          Snow or Sleet causes damage to a
     provided:                                                            structure covered under this policy and
                                                                          the Pennsylvania Governor declares the
          a) The trees) damages) a covered                                area in which the "residence premises"
             structure;                                                   is located to be a disaster area as a
          b) Windstorm or Hail or Weight of Ice,                          result of such weather conditions; or
             Snow or Sleet causes damage to a                          c) The trees) does not damage a covered
             structure covered under this policy and                      structure, but:
             the Pennsylvania Governor declares the
             area in which the "residence premises"                        i)   Block(s} a driveway on the
             is located to be a disaster area as a                              "residence      premises"      which
             result of such weather conditions; or                              prevents a "motor vehicle", that is
                                                                                registered for use on public roads or
          c) The trees) does not damage a covered                               property, from entering or leaving
             structure, but:                                                    the "residence premises"; or
              i)   Block(s} a driveway on the                              i~~ Block(s) a ramp or other fixture
                   "residence      premises"      which                        designed to assist a handicapped
                   prevents a "motor vehicle", that is                         person to enter or leave the dwelling
                   registered for use on public roads or                       building.
                   property, from entering or leaving
                   the "residence premises"; or                    The $1000 limit is the most we will pay in any
                                                                   one loss regardless of the number of fallen
              ii) Blocks) a ramp or other fixture                  trees. No more than $500 of this limit will be paid
                  designed to assist a handicapped                 for the removal of any one tree.
                  person to enter or leave the dwelling
                  building.                                        This coverage is additional insurance.
      The $1000 limit is the most we will pay in any            SECTION I -EXCLUSIONS
      one loss regardless of the number of fallen               ~n Forms H03, H04, H05, and H06, item A.8. is
      trees. No more than $500 of this limit will be paid       deleted and replaced by the following:
      for the removal of any one tree.
                                                                $• Intentional Loss
      This coverage is additional insurance.
                                                                   a. Intentional Loss means any loss arising out
  In Form HO 6, item D.1.b. is deleted and replaced                   of any act an "insured" commits or conspires
  by the following:
                                                                      to commit with the intent to cause a loss.
  b. We will also pay the reasonable expense you
                                                                       In the event of such loss, no "insured" is
     incur, up to $1000, for the removal from the
     "residence premises" of:                                          entitled to coverage, even "insureds" who


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          did not commit or conspire to commit the act           SECTION I AND II -CONDITIONS
          causing the loss.
                                                                 In Forms HO 3, HO 5, and HO 6, item I. is added:
      b. However, this exclusion will not apply to               1.   Dividends
         deny payment to the "insured" who did not
         cooperate in or contribute to the creation of                The first named insured is entitled to any
         the loss if the loss:                                        dividends which are declared by the Board of
                                                                      Directors and are applicable to coverages in this
          1) Is otherwise covered property under                      policy.
             Coverage A, B, or C of the policy; and
                                                                 In Form HO 4, item H. is added:
          2j Arises out of abuse to that innocent
             "insured" by another "insured".                     H. Dividends

          With respect to this provision, abuse means:                The first named insured is entitled to any
                                                                      dividends which are declared by the Board of
                a. Abuse as defined in the                            Directors and are applicable to coverages in this
                   Pennsylvania Protection From                       policy.
                   Abuse Act; or
                                                                 In forms HO 3, HO 5 and HO 6, item J. is added:
                b. Attempting to cause or intentionally,
                                                                 J. Change in Circumstances
                   knowingly or recklessly causing
                   damage to covered property so as                   You have a duty to notify us as soon as
                   to intimidate or attempt to control                reasonably possible of any change which may
                   the behavior of another person.                    affect the premium or risk underthis policy. This
                                                                      includes, but is not limited, changes:
      If we pay a claim underthis provision 8.b., our
      payment to the "insured" is limited to that                     1. in the title/ownership of the "residence
      "insured's" insurable interest in the property. In                 premises"; or
      no event will we pay more than the Limit of                     2. in the occupancy or use of the "residence
      Liability.                                                         premises".
                                                                 All other provisions of this policy apply.


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                                                                                                    12601 {1Q-05E

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 PREMIER HOMEOWNERS ENDORSEMENT

                                        FOR USE WITH FORM HO-3 ONLY

                                                                     other than bank notes, manuscripts,
  DEFINITIONS                                                        personal records, passports, tickets and
  The following definition is added:                                 stamps. This dollar limit applies to these
  14. "Personal injury" means injury arising out of one              categories regardless of the medium (such
      or more of the following offenses during the                   as paper or computer softwrare) on which
      policy period:                                                 the material exists.
                                                                     This limit includes the cost to research,
      a. false arrest, detention or imprisonment, or
           malicious prosecution;                                    replace or restore the information from the
                                                                     lost or damaged material.
      b. libel, slander or defamation of character; or
                                                                c.   $2500 on watercraft of all types, including
      c. invasion of privacy, wrongful eviction or                   their trailers, furnishings, equipment and
           wrongful entry.                                           outboard engines or motors.
  SECTION 1 -PROPERTY COVERAGES                                 d.   $3000 on trailers or semi-trailers not used
                                                                     with watercraft of all types.
  COVERAGE C -Personal Property
                                                                e.   $5Q00 for loss by theft of jewelry, watches,
  2. Limit For Property At Other Residences is
                                                                     furs, precious and semi-precious stones.
     deleted and replaced by the following:
                                                                f.   $5000 for loss by theft of firearms and
  2. Limit For Property At Other Residences
                                                                     related equipment.
     Our limit of liability for personal property usually
                                                                g.   $10000 for loss by theft of silverware, silver-
     located at an "insured's" residence, other than
                                                                     plated ware, goldware, gold-plated ware,
     the "residence premises", is 30°~ of the limit of
                                                                     platinumware, platinum plated ware, and
     liability for Coverage C, or $1000, whichever is                                                      flatware,
                                                                     pewterware.       This    includes
     greater. However, this limitation does not apply
                                                                     hollowware, tea sets, trays and trophies
     to personal property:
                                                                     made of or including silver, gold or pewter.
     a. Moved from the "residence premises"
                                                                h.   $10000 on property, on the "residence
          because it is being repaired, renovated or
                                                                     premises", used mainly for "business"
          rebuilt and is not fit to live in or store
                                                                     purposes.
          property in; or
                                                                i.   $1000 on property, away from the
     b. In a newly acquired principal residence for                  "residence premises", used mainly for
          60 days from the time you begin to move the
                                                                     "business" purposes. However, this limit
          property there.
                                                                     does not apply to loss to electronic
  3. Special Limits of Liability is deleted and                      apparatus and other property as described
     replaced by the following:                                      in categories j. and k. below.
  3. Special Limits of Liability                                j.   $2000 on electronic apparatus and
     These special limits do not increase the                        accessories, while in or upon a "motor
     Coverage C limit of liability. The special limit for            vehicle", but only if the apparatus is
     each category below is the total limit for each                 equipped to be operated by power from the
     loss for all property in that category.                         "motor vehicle's" electrical system while still
     a. $1000 on money, bank notes, bullion, gold                    capable of being operated by other power
          other than goldware, silver other than                     sources. Accessories include:
          silverware,        platinum     other     than             1) antennas;
          platinumware, coins, medals, scrip, stored                 2) tapes, wires, records, discs or other
          value cards and smart cards.                                    media;
     b. $5000 on securities, accounts, deeds,                        that can be used with any apparatus
          evidences of debt, letters of credit, notes                described in this category j.

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      k. $2000 on electronic apparatus and                               3) Damage{s) a covered structure;
         accessories used mainly for "business",                         4) Does not damage a covered structure,
         while away from the "residence premises"                             but:
         and not in or upon a "motor vehicle". The
         apparatus must be equipped to be operated
                                                                              a} Blocks) a driveway on the
                                                                                   "residence      premises"      which
         by power from the "motor vehicle's"
                                                                                   prevents a "motor vehicle", that is
         electrical system while still capable of being
                                                                                   registered for use on public roads or
         operated by other power sources.                                          property, from entering or leaving
         Accessories include:
                                                                                   the "residence premises"; or
         1) antennas;
                                                                              b) Blocks) a ramp or other fixture
         2) tapes, wires, records, discs or other                                  designed to assist a handicapped
             media;                                                                person to enter or leave the dwelling
         that can be used with any apparatus                                       building.
         described in this category k.                                   The $5000 limit is the most we will pay in
  COVERAGE D —Loss Of Use                                                any one loss regardless of the number of
                                                                         fallen trees. No more than $1000 of this limit
  3. Civil Authority                                                     will be paid for the removal of any one tree.
     The following is added:                                             This coverage is additional insurance.
     Policy deductible does not apply.                           3. Trees, Shrubs and Other Plants is deleted and
  ADDITIONAL COVERAGES                                              replaced by the following:
  The following coverages are amended or added:                  3. Trees, Shrubs and Other Plants
  1. Debris Removal is deleted and replaced by the                  We cover trees, shrubs, plants or lawns, on the
     following:                                                     "residence premises", for loss caused by the
                                                                    following Perils Insured Against:
  1. Debris Removal
                                                                    a. Fire or Lightning;
     a. We will pay your reasonable expense for the
           removal of:                                              b. Explosion;
          1) Debris of covered property if a Peril                  c. Riot or Civil Commotion;
                Insured Against that applies to the                 d. Aircraft;
                damaged property causes the loss; or                e. Vehicles not owned or operated by a
          2) Ash, dust or particles from a volcanic                      resident of the "residence premises";
                eruption that has caused direct lass to a           f. Vandalism or Malicious Mischief; or
                building or property contained in a
                                                                    g. Theft.
                building.
                                                                    We will pay up to 5°k of the limit of liability that
           This expense is included in the limit of
                                                                    applies to the dwelling or $10,000, whichever is
           liability that applies to the damaged
                                                                    less, for all trees, shrubs, plants or lawns on the
           property. If the amount to be paid for the               "residence premises". No more than $1000 of
          actual damage to the property plus the
                                                                    this limit will be available for any one tree, shrub
          debris removal expense is more than the
                                                                    or plant.
           limit of liability for the damaged property, an
          additional 20% of that limit of liability is              We do not cover trees, shrubs, plants or lawns:
          available for debris removal expense.                     a. Grown for "business" purposes; or
     b. We will also pay your reasonable expense,                   b. Are part of, or a continuation of, a forest
           up to $S000, for the removal from the                         including national forest or wildlife preserve.
          "residence premises" of:                                  This coverage is additional insurance.
          1) Your tree{s) felled by the peril of                 6. Credit Card, Electronic Fund Transfer Card
                Windstorm or Hail or Weight of Ice,                 or Access Device, Forgery and Counterfeit
                Snow or Sleet; or                                   Money
          2) A neighbor's trees} felled by a Peril                  The first sentence of item a. is deleted and
                Insured Against under Coverage C;                   replaced by the following:
           provided the tree{s}:                                    a. We will pay up to $10000 for:

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                                                                                                       12601 (10-05~
 7. Loss Assessment                                                 Exclusion A.4. Power Failure is deleted with
     Item a. is deleted and replaced by the following:              respect     to    coverage      provided    under
                                                                    ADDITIONAL            COVERAGES,               13.
     a. We will pay up to $5000 for your share of                   Consequential       Loss      to     Refrigerated
         loss assessment charged during the policy                  Contents.
         period against you as owner or tenant of the
         "residence premises" by a corporation or               14. Lock Replacement
         association of property owners. The                        If your keys to your house are lost or stolen, we
         assessment must be made as a result of                     will pay the cost of replacing the locks, up to
         direct loss to the property, owned by all                  $1,000. You must notify us in writing within 72
         members collectively, of the type that could               hours of discovering the loss.
         be covered by this policy if owned by you,                 There is no deductible for this coverage.
         caused by a Peril Insured Against under
         Coverage A, other than                                 SECTIQN II -LIABILITY COVERAGES
         1} Earthquake; or                                      A. COVERAGE E -Personal liability is deleted
                                                                   and replaced by the following:
         2) Land shock waves or tremors before,
              during or after a volcanic eruption.              A. COVERAGE E —Personal Liability
         The limit of $5000 is the most we will pay                If a claim is made or a suit is brought against an
         with respect to any one loss, regardless of               "insured" for damages because of "bodily injury"
         the number of assessments. We will only                   or "property damage" caused by an
         apply one deductible, per building or                     "occurrence" or "personal injury" to which this
         structure, to the total amount of any one loss            coverage applies, we will:
         to the property described above, regardless               1. Pay up to our limit of liability for the
         of the number of assessments.                                  damages for which an "insured" is legally
 11. ordinance or Law                                                   liable. Damages include prejudgment
                                                                        interest awarded against an "insured';and
     The first sentence of item a, is deleted and
     replaced by the following:                                    2. Provide a defense at our expense by
                                                                        counsel of our choice, even if the suit is
     a. You may use up to 2d°~ of the limit of                          groundless, false or fraudulent. We may
         liability that applies to Coverage A for the                   investigate and settle any claim or suit that
         increased costs you incur due to the                           we decide is appropriate. Our duty to settle
         enforcement of any ordinance or law which                      or defend ends when the amount we pay for
         requires or regulates:                                         damages resulting from the "occurrence"
 13. Consequential Loss to Refrigerated Contents                        has been exhausted by payment of a
     We will pay an amount not to exceed $500 per                       judgment or settlement.
     occurrence for loss or damage to contents of               SECTION II -- EXCLUSIONS
     freezer or refrigerated units on the "residence
     premises". The contents must be owned by the               B. "Watercraft Liability"
     "insured" and the loss or damage caused by a                  Exclusion B.2.c.2) is deleted and replaced by
     change in temperature resulting from:                         the following:
     a. interruption of electrical current to                      2) One or - more outboard engines or motors
         refrigeration equipment caused by damage                      with:
         to      the   generating     or transmission                  a) 100 total horsepower or less;
         equipment.
                                                                       b) More than 100 horsepower if the
     b. mechanical or electrical breakdown of the                           outboard engine or motor is not owned
         refrigeration system.                                              by an "insured";
     The "insured" must exercise diligence in                          c) More than 100 horsepower if the
     inspecting      and     maintaining    refrigeration                   outboard engine or motor is owned by
     equipment. If interruption of electrical service or                    an "insured" who acquired it during the
     mechanical or electrical breakdown is known, all                       policy period; or
     reasonable means must be used to protect the
     covered property from further damage or this                      d) More than 100 horsepower if the
                                                                            outboard engine or motor is owned by
     coverage is void.
                                                                            an "insured" who acquired it before the
     No deductible applies.                                                 policy period, but only if:
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 12601 X10-05j
                i~   You declare them at policy                 f.   "personal injury" to you or an "insured" within the
                     inception; or                                   meaning of Definition 5. "Insured" paragraphs a.
                iii Your intent to insure them is                    orb.
                     reported to us in writing within 45             This exclusion also applies to any claim made or
                     days after you acquire them.                    suit brought against you or an "insured":
                The coverages in c) and d) above apply               1) To repay; or
                for the policy period.                               2) Share damages with;
  SECTION 11 -- EXCLUSIONS in paragraphs E., F.,                          another person who may be obligated to pay
  and G. do not apply to "personal injury".                               damages because of "personal injury" to an
                                                                          "insured".
  "Personal injury" coverage does not apply to:
  a. liability assumed by the "insured" under any               SECTION 11 -ADDITIONAL COUERAGES
      contract or agreement except any indemnity                D. Loss Assessment
      obligation assumed by the "insured" under a                  The first sentence of item 1. is deleted and
      written contract directly relating to the                    replaced by the following:
      ownership, maintenance or use of an "insured
                                                                   1. We will pay up to $5000 for your share of
      location";
                                                                       loss assessment charged during the policy
  b. injury caused by a violation of a penal law or                    period against you, as owner or tenant of
      ordinance committed by or with the knowledge                     the "residence premises", during the policy
      or consent of an "insured";                                      period by a corporation or association of
  c. injury sustained by any person as a result of an                  property owners, when the assessment is
      offense directly or indirectly related to the                    made as a result of:
      employment of this person by an "insured';                   The first sentence of item 3. is deleted and
  d. injury arising out of the "business" pursuits of an           replaced by the following:
      "insured';                                                   3. Regardless of the number of assessments,
  e. civic or public activities performed for pay by an                the limit of $5000 is the most we will pay for
      "insured".                                                       loss arising out of:




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                                                                                                  12559 (06-05)

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                REPLACEMENT COST ENDORSEMENT



  i.  It is agreed that provisions of this policy applicable to Coverage C -- Unscheduled Personal Property are
      amended to substitute the term "replacement cosy' for the term "actual cash value" wherever it appears,
      subject to the following exclusions, conditions and definition:
  II. It is further agreed that Additional Conditions -- Replacement Cost -- Coverages A and B of the policy to
      which this endorsement is attached, insofar as it relates to the exclusion of outdoor radio and television
      aerials, carpeting, awnings, domestic appliances and outdoor equipment is hereby amended, and that loss
      from a covered peril to those items shall be adjusted on a "replacement cosy' basis rather than on an
      "actual cash value" basis, subject to the following exclusions, conditions and definition.
                                                 EXCLUSIONS
  THE COMPANY SHALL NOT BE LIABLE UNDER THIS ENDORSEMENT FOR REPLACEMENT COST FOR
  LOSS OR DAMAGE TO.
     1. PAINTINGS, ETCHINGS, PICTURES, TAPESTRIES, STATUARY, ARTICLES MADE OF MARBLE,
        BRONZES, ANTIQUES, RARE BOOKS, PORCELAINS, RARE GLASSWARE OR ANY OTHER
        ARTICLES WHICH, BECAUSE OF THEIR INHERENT NATURE, CANNOT BE REPLACED WITH NEW
     ARTICLES.
     2. MEMORABILIA, SOUVENIRS, COLLECTORS ITEMS, AND SIMILAR ARTICLES WHOSE AGE OR
        HISTORY CONTRIBUTE SUBSTANTIALLY TO THEIR VALUE.
     3. RECORDS, FILMS, TAPES OR OTHER MAGNETIC RECORDINGS, COMPACT DISC.
     4. BUSINESS PROPERTY AND PROPERTY OF OTHERS, EITHER ON OR OFF THE DESCRIBED
        PREMISES.
                                        CONDITIONS
  A. THE COMPANY SHALL ONLY BE LIABLE UNDER THIS ENDORSEMENT:
     1. FOR ANY LOSS TO PROPERTY OWNED BY AN INSURED;
     2. FOR ANY ~QSS TO PROPERTY WHICH HAS BEEN MAINTAINED IN GOOD AND WORKABLE
        CONDITION AND IS BEING USED OR STORED FOR USE BY THE INSURED;
     3. WHEN THE DAMAGED, DESTROYED, OR STOLEN PROPERTY HAS ACTUALLY BEEN REPAIRED
        OR REPLACED BY THE INSURED;
  B. PERSONAL PROPERTY REPLACEMENT COST COVERAGE WILL ALSO APPLY TO THE FOLLOWING
     ARTICLES OR CLASSES OF PROPERTY IF THEY ARE SEPARATELY DESCRIBED AND SPECIFICALLY
     INSURED IN THIS POLICY:
     1. JEWELRY;
     2. FURS AND GARMENTS TRIMMED WITH FUR OR CONSISTING PRINCIPALLY OF FUR;
     3. CAMERAS, PROJECTION MACHINES, FILMS AND RELATED ARTICLES OF EQUIPMENT;
     4. MUSICAL EQUIPMENT AND RELATED ARTICLES OF EQUIPMENT;
     5. SILVERWARE, SILVER-PLATED WARE, GOLDWARE, GOLD-PLATED WARE AND PEWTERWARE,
        BUT EXCLUDING PENS, PENCILS, FLASKS, SMOKING IMPLEMENTS OR JEWELRY; AND
     6. GOLFER'S EQUIPMENT MEANING GOLF CLUBS, GOLF CLOTHING AND GOLF EQUIPMENT.
        PERSONAL PROPERTY REPLACEMENT COST COVERAGE WILL NOT APPLY TO OTHER
        CLASSES OF PROPERTY SEPARATELY DESCRIBED AND SPECIFICALLY INSURED.
  C. THE COMPANY'S LIABILITY FOR LOSS UNDER THIS ENDORSEMENT SHALL NOT EXCEED THE
     SMALLEST OF THE FOLLOWING AMOUNTS:


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  12559 (06-05)
       1. THE LIMIT OF LIABILITY OF THIS POLICY APPLICABLE TO THE DAMAGED, DESTROYED, OR
           STOLEN PROPERTY;
       2. THE REPLACEMENT COST OF THE PROPERTY OR ANY PART THEREOF; OR
       3. THE AMOUNT ACTUALLY AND NECESSARILY SPENT BY THE INSURED IN REPAIRING THE
           PROPERTY OR ANY PART THEREOF.
  D.   THE COMPANY RESERVES THE RIGHT TO REPLACE AT ITS COST ANY ITEMS) DAMAGED,
       DESTROYED, OR STOLEN WITHOUT OBLIGATION TO REPLACE ALL ITEMS.
  E.   WHEN THE REPLACEMENT COST IS MORE THAN $500, WE WILD PAY NO MORE THAN THE ACTUAL
       CASH VALUE FOR THE LOSS OR DAMAGE UNTIL THE ACTUAL REPAIR OR REPLACEMENT IS
       COMPLETE.
  F.   IF YOU RECEIVE A SETTLEMENT UNDER THIS POLICY FOR PERSONAL PROPERTY ON AN "ACTUAL
       CASH VALUE" BASIS, YOU MAY THEN MAKE AN ADDITIONAL CLAIM FOR PAYMENT ON A
       REPLACEMENT COST BASIS PROVIDED:
       1. REPAIR OR REPLACEMENT IS COMPLETED WITHIN 1 YEAR OF THE DATE OF THE LOSS UNLESS
           YOU REQUEST IN WRITING THAT THIS TIME LIMIT BE EXTENDED FOR AN ADDITIONAL 180
           DAYS: AND
       2. YOU HAVE NOT REACHED THE APPLICABLE LIMIT OF LIABILITY UNDER THIS POLICY.
  G.   REPAIR OR REPLACEMENT MUST BE EVIDENCED BY THE ORIGINAL OF THE REPLACEMENT
       RECEIPT, INVOICE OR BILL.
                                     DEFINITION OF REPLACEMENT COST
  "REPLACEMENT CAST" means the cost, at the time of loss, of a new article identical to the one damaged,
  destroyed or stolen. When the identical article is no longer manufactured or is not available, replacement cost
  shall mean the cost of a new article similar to that damaged, destroyed, or stolen and which is of comparable
  quality and usefulness.




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                                                                                                     12587P (11.04)

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     DWELLING REPLACEMENT COST




  In return for your having:
  1) furnished us accurate information for replacement cost estimation,
  2} insured your dwelling to at least 100% of its replacement cost as determined by an Allied replacement cost
       estimation or an inspection performed by a recognized appraisal agency authorized by Allied,
  3) paid the additional premium, and
  4) agreed to notify us within 90 days of the start of any alterations which increase the replacement cost of your
       dwelling more than $5,000, and pay any resulting additional premium;
  we will settle covered losses to the dwelling under Coverage A, up to 125% of the limit of liability shown in the
  Declarations for Coverage A as follows:
  1) we will pay the cost of repair or replacement, but not exceeding the replacement cost of that part of the build-
     ing damaged, for like construction and use on the same premises;
  2} we will pay the actual cash value of the damage until actual repair or replacement is completed.
     You may make an additional claim for payment on a replacement cost basis provided:
     a) repair or replacement is completed within 1 year of the date of the loss unless you request in writing that
          this time limit be extended for an additional 180 days; and
     b) repair or replacement is evidenced by the original of the replacement receipt, invoice or bill; and
     c) you have not reached the applicable limit of liability under this policy.
  This endorsement doss not increase the coverage limits of Coverage B, G or D of the attached policy.




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                                                                                                          HO 55 (05-Q5E

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    IDENTITY THEFT OR IDENTITY FRAUD EXPENSES COVERAGE

  DEFINITIONS                                                        f.   Charges incurred for long distance
                                                                          telephone calls to law enforcement
 With respect to the provisions of this endorsement                       agencies, merchants, credit grantors, credit
 only, the following definitions are added:                               agencies or similar financial institutions to
 1. "Identity theft or identity fraud" means the act of                   report or discuss an actual "identity theft or
     knowingly using or transferring without legal                        identity fraud".
     authority personal identifying information of an            The following additional coverage is added under
     "insured" such as name, social security number,             SECTION 1:
     driver's license number, bank account
     numbers} or credit card numbers} with the                   IDENTITY THEFT            OR      IDENTITY       FRAUD
     intent to commit, or to aid or abet another to              EXPENSES
     commit, any illegal activity that constitutes a
                                                                 Any act or series of acts committed by one or more
     felony under any applicable state or local law or
                                                                 persons, or in which such person or persons are
     violation of federal law.
                                                                 aiding or abetting others against an "insured", is
 2. "Expenses" means:                                            considered to be one "identity theft or identity fraud",
     a. Costs of executing a~davits or similar                   even if a series of acts continues into a subsequent
          documents attesting to theft or fraud                  policy period.
          required by credit grantors, credit agencies                     "Identity theft or identity fraud" must occur
          or similar financial institutions.                               while this coverage is part of "your" policy;
     b. Costs for certified mail to credit grantors,                       and
          credit agencies, or similar financial                            "Identity theft or identity fraud" expenses
          institutions and law enforcement agencies.                       must be incurred while this coverage is part
     c. Lost income resulting from time taken off                          of "your" policy or within 180 days after this
          work to complete theft or fraud affidavits,                      coverage is terminated.
          talk to or meet with credit grantors, credit                If this coverage is terminated, "our" total liability
          agencies or similar financial institutions, law             for "expenses" incurred by "you" during the 180
          enforcement agencies and or legal counsel,                  days after the termination will not exceed the
          up to a maximum of $250 per day. Total                      amount equaling the difference between the limit
          payment for lost income is not to exceed                    at the time coverage terminated and the amount
          $s,oao.                                                     "we" already reimbursed "you" during that policy
      d. Loan application fees for re-applying for a                  period.
         loan or loans where the original application
                                                                 "We" may offer, at "our" option, to refer "you" to a
         is rejected solely because the lender
                                                                 firm that:
         received incorrect credit information.
      e. Reasonable attorney fees incurred by "you"                         "you" can authorize to work on "your"
         as a result of "identity theft or identity fraud"                  behalf to assist "you" in .reporting and
                                                                            addressing the effects of "identity theft or
         to:
                                                                            identity fraud" to which coverage applies;
         1} Defend lawsuits brought against an
             "insured" by financial institutions,                           will consult with "you" on measures "you"
             merchants, or collection agencies;                             might take if "you" reasonably suspect
                                                                            that "you" have already become, or may
         2) Remove any civil or criminal judgments                          become a victim of "identity theft or
             wrongly entered against an "insured";                          identity fraud" to which this coverage
             and                                                            applies; or
         3} Challenge       the     completeness or                         if "we" do provide "you" with such a
             accuracy of any information in a                               referral, "we" will pay, subject to the terms
             consumer credit report.                                        of the referral "we" provide, that firm's
                                                                            charges for the work they perform

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            consistent to the terms of "our" referral,          2. "Expenses" incurred due to any fraudulent,
            and those charges will not be subject to               dishonest or criminal act by an "insured" or any
            the limits for "identity then or identity              person acting in collusion with an "insured", or
            fraud" coverage.                                       by any authorized representative of an "insured",
                                                                   whether acting alone or in collusion with others.
  "We" will pay up to $25,000 for "expenses" incurred
  by an "insured" as the direct result of any single            3. Loss other than "expenses".
  "identiky theft or identity fraud" first discovered or        4. Loss insured under the Credit Card, Electronic
  learned of during the policy period. "Our" total                 Fund Transfer Card, Access Device and Forgery
  liability for Identity Theft or Identity Fraud Expenses          Coverage, under Section I of the policy.
  Coverage "you" incur during the policy period will not
  exceed this limit regardless of the number of                 SECTION I —CONDITIONS
  instances or when they occurred, or the number of             B. Duties After Loss
  persons making a claim for "identity theft or identity           Under item 8. the following item is added:
  fraud".                                                          i. evidence or affidavit supporting a claim
  This coverage is additional insurance.                               including bills, receipts, or other records that
                                                                       support a claim for "expenses" under
  No deductible applies to Identity Theft or Identity                  Identity Theft or Identity Fraud Expenses
  Fraud Expenses Coverage.                                             Coverage. It should state the amount and
  EXCLUSIONS                                                           cause of loss.
  The following additional exclusions apply to this             All other provisions of this policy apply.
  coverage:
  "We" do not cover:
  1. "Expenses" arising out of the business pursuits
     of any "insured".




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                                                                                                            12669 (12-02)

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                  BACK-UP OF SEWER, DRAIN OR SUMP PUMP

                                              (This is not Flood Insurance)


With respect to the coverage provided by this endorsement, the provisions of the policy apply unless modified by this
endorsement.

For an additional premium, the following coverages are provided.

DEFINITIONS

Under DEFINITIONS, the following is added.
15. "Flood" means a general and temporary condition of partial or complete inundation of normally dry land areas
    from:
    a.   the unusual and rapid accumulation or runoff of surface waters from any source;
    b.   the overflow of inland or tidal waters including but not limited to the rising and overflow of streams, navigable
         rivers, or any body of water rising, swelling and overflowing its banks; or
    c.   waves, tides or tidal water.
    "Flood" does not mean standing water, not caused by "flood", on the "residence premises", that dots not leak
    or seep through walls, windows and/or external openings of the dwelling and/or other structures. Damage re-
    sulting from sewer back up, sump, sump pump or sump pump well overflow caused by "flood" is not covered by
    this endorsement.
SECTION I -- PROPERTY COVERAGES

Under ADDITIONAL COVERAGES, the following coverage is included.
15. Back-up Of Sewer, Drain Or Sump Pump. This coverage replaces any coverage for Back-up of Sewer, Drain or
    Sump Pump provided by Endorsement 12745.

    We will provide coverage, up to $5,000 for direct loss to Coverage A -Dwelling and Coverage C -Personal
    Property caused by water which backs up through sewers or drains or water which enters into and overflows from
    within a sump pump, sump pump well or other type system designed to remove subsurface water which is
    drained from the foundation area. This coverage does not apply if the loss is caused by the insured's negligence.
    The greater of $500 or policy deductible applies. We will not pay for loss that results from sewer back-up or sump
    pump overflow that occurs within 10 days before or 10 days after "flood" on the "residence premises".

    Exclusion A.3.b. (3.b in HO 4 and HO 6) Water Damage is deleted with respect to coverage provided under AD-
    DITIONAL COVERAGES, 15. Back-up of Sewer, Drain or Sump Pump.

    Exclusion A.4., (4. in HO 4 and HO 6), Power Failure is deleted with respect to coverage provided under ADDI-
    TIONAL COVERAGES, 15. Back-up of Sewer, Drain or Sump Pump.




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                                                                                                              12747 (12-01)

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                        FUNGI OR BACTERIA ENDORSEMENT
                                             FOR USE WITH FORMS H03 and H05

                                                             SCHEDULE"
The limit of liability applies to the total of all loss payable under this endorsement, regardless of the number of "oc-
currences", the number of claims made, or the number of locations insured under this endorsement and listed in this
Schedule.

Section 1 -Property Coverage Limit of Liability for the Additional Coverage "Fungi"             $    10,000
Or Bacteria


*Entries may be left blank if shown elsewhere in this policy for this coverage.


DEFINITIONS                                                                        under Section 1 -Property Cover-
                                                                                   ages;
The following definition is added:
                                                                              3)   The cost to tear out and replace
"Fungi"                                                                            any part of the building or other
                                                                                   covered property as needed to
"Fungi" means any type or form of fungus, including                                gain access to the "fungi" or bac-
mold or mildew, and any mycotoxins, spores, scents                                 teria; and
or by-products produced or released by fungi.
                                                                              4)   The cost of testing of air or prop-
SECTION 1 -PROPERTY COVERAGES                                                      erty to confirm the absence, pres-
                                                                                   ence or level of "fungi" or bacteria
E.     ADDITIONAL COVERAGES                                                        whether performed .prior to, during
                                                                                   or after removal, repair, restora-
       Paragraph 10.k.2)d) is deleted and replaced                                 tion or replacement. The cost of
       with the following in Form H05 only;                                        such testing will be provided only
                       d)   Caused by wet rot.                                     to the extent that there is a reason
                                                                                   to believe that there is the pres-
       The following Additional Coverage is Added:                                 ence of "fungi" or bacteria.

       14. RESERVED FOR FUTURE USE                                       b.   The coverage described in 18.a. only
                                                                              applies when such loss or costs are a
       15. RESERVED FOR FUTURE USE                                            result of a Peril Insured Against that
                                                                              occurs during the policy period and
       16. RESERVED FOR FUTURE USE                                            only if all reasonable means were used
                                                                              to save and preserve the property from
       17. RESERVED FOR FUTURE U5E                                            further damage at and after the time
                                                                              the Peril Insured Against occurred.
       18. "Fungi" Or Bacteria
                                                                         c.   The amount shown in the Schedule for
            a.   The amount shown in the Schedule                             this coverage is the most we will pay
                 above is the most we will pay for:                           for the total of all loss or costs payable
                                                                              under this Additional Coverage re-
                 1)    The total of all loss payable under                    gardless of the:
                       Section I - Property Coverages
                       caused by "fungi" or bacteria;                         1)   Number of locations insured under
                                                                                   this endorsement; or
                 2)    The cost to remove "fungi" or
                       bacteria from property covered                         2)   Number of claims made.

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         This coverage does not increase the limit
         of liability applying to the damaged covered               Exclusion C. is added.
         property.
                                                                    C.   We will not pay for loss or damage caused di-
SECTION I -PERILS INSURED AGAINST                                        rectly or indirectly by or resulting from "fungi"
                                                                         or bacteria of any type regardless of the cause
In Form H03:                                                             of the growth, proliferation or accretion except
                                                                         as provided by Section I -Additional Coverages
A.   COVERAGE A -Dwelling and COVERAGE B -                               18. "Fungi" or Bacteria.
     Other Structures
     Paragraph 2.c.6)c) is deleted and replaced by                  SECTION II -EXCLUSIONS
     the following:                                                 Under E. COVERAGE E - Personal Liability and
                                                                    COVERAGE F -Medical Payments To Others, 11. (or
                      c)   Smog, rust or other corrosion,           16. if the Home Business Endorsement {HE285) is
                           wet or dry rot;                          present) "Fungi" or Bacteria is added.
B.   COVERAGE C -Personal Property                                       11. "Fungi" or Bacteria
     12. Accidental Discharge Or Overflow Of Water                           "Bodily injury", "property damage", or,
         Or Steam                                                            where added by endorsement, "personal
         Paragraph b.4) is deleted and replaced by                           injury" which would not have occurred in
         the following:                                                      whole or in part but for:
                                                                             "Fungi" or bacteria injury or damage in-
                4)    Caused by wet rot.
                                                                             cluding, but not limited to, any injury or
In Form H05:                                                                 damage arising out of or alleged to have
                                                                             arisen out of any act, error, omission, fail-
A.   Under Coverages A, B and C:                                             ure to warn or other duty involving "fungi"
     Paragraph 2.e.3) is deleted and replaced by the                         or bacteria, its exposure, existence, de-
     following:                                                              tection, removal, elimination or avoidance
                                                                             or actions arising from a failure to disclose
                3)    Smog, rust or other corrosion, wet                     the presence of "fungi" or bacteria.
                      or dry rot;
                                                                    The provisions of the policy apply unless modified
SECTION I -EXCLUSIONS                                               by this endorsement.


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